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    MEMORANDUM



   TO:             Marcella David
                   Provost and Professor of Law

   FROM:          Darryll K. Jones
                  Interim Dean and Professor of Law

   DATE:          August 21, 2015

   RE:            Salary Equity Adjustment Proposal



           irrational salary distributions within the College of Law have
                                                                                detrimental impact on
   faculty morale and performance. This memorandum
                                                                 proposes adjustments to address the
   irrationality. The proposal assumes, solely for the purpose of this
   no significant
                                                                           memorandum, that there are
                   qualitative differences in job performance amongst faculty members of the same
   rank and tenure status. This
                                      proposal also assumes that salaries for higher ranked professors
   should be higher than lower ranked professors, and salaries for
                                                                          tenured professors should be
   higher than salaries for tenure track or non-tenured
                                                                   professors. Superior performance,
   however defined, may defeat those                    but this
                                           assumptions            proposal assumes away differences in
  job performance.

          Exhibit 1 contains faculty salaries as of academic
                                                              year 2015-16, organized from highest
  to lowest. Green
                       highlight is used to indicate faculty with the rank of "professor,"
  indicates "associate professor," and brown indicates
                                                                                              purple
                                                         "instructor." "r indicates that the faculty
  member is tenured, "TV' indicates that the
                                                  faculty member is on a tenure track, and "NT"
  indicates that the faculty member is neither tenured nor
                                                             on a tenure track.

          By listing salaries from highest to lowest and then
                                                                designating rank and tenure status,
  Exhibit 1 demonstrates salary inversions, defined here to
                                                              mean that at least one higher ranked
  faculty earns less than at least one lower ranked faculty. Inversion is also used
                                                                                      when at least
  one tenured faculty member earns less than at least one
                                                               tenure track or non-tenured
  member. Exhibit 1 shows that three tenured                                                 faculty
                                                 professors are paid less than one or more tenured




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   associate professors. Faculty members 18, 19, and 31 are tenured
                                                                       professors but are paid less
   than faculty members 16 and 17, two tenured associate
                                                          professors. in addition, seven tenured
   associate professors are paid less than at least one
                                                           non-tenured, tenure track associate
   professor. Faculty members 21, 22, 23, 25, 26, 27 and 30, all tenured associate
                                                                                     professors, are
   paid less than faculty member 20, a non-tenured, tenure track
                                                                          faculty member; faculty
   members 25, 26, 27, and 30, tenured associate professors, are         less than faculty rnember
                                                                   paid
   24, a non-tenured tenure track associate professor.

            Exhibit 2 shows a salary distribution
                                                   proposed in resolution of the foregoing. Column
   shows current salaries, Column Q shows proposed salaries and
                                                                       Column R shows the cost of the
   adjustment per faculty member. The overall goal is that salaries wiH be
                                                                                 grouped according to
   rank from highest to lowest and then within ranks
                                                            by tenure status. Except for faculty with
   administrative duties the resulting distribution would eliminate inversions
                                                                                   shown in Exhibit 2.
   The total cost to eliminate the inversions is
                                                  approximately   $140,000.  The proposal assumes no
   increase in the College's budget allocation from the
                                                            University or any other source. Although
   the proposal results in salaries being ordered according to rank, it does not address
                                                                                           temporary
   differences in salaries resulting from adrninistrative supplement.
                                                                            Changes in administrative
   assignments, for which additional compensation is provided, would
                                                                              change the ordering of
   salaries and in some cases re-introduce
                                             salary inversion.
             The College expects to pay for the adjustments
                                                             through savings generated by attrition
   and, in   oneinstance, savings derived from the conversion of one 12 month contract to
                                                                                                  a 9
   month contract. Faculty mernber 7 on Exhibit 1 is
                                                          currently on a 12 month contract. That
  faculty member's services are necessary only for 9 months (Dean Pernell informed the
                                                                                               faculty
  member at the start of this academic year that his next contract would be for 9
                                                                                       months). The
  conversion to a 9 month contract would save approximately
                                                                     $40,000 (cash and rate) to be
  reallocated in partial payment of the total adjustment costs. The
                                                                       College expects an additional
  savings of approximately $81,000 from one senior faculty member's stated intention to
                                                                                              request
  part-time status.      In addition, the College is
                                                     currently realizing a savings of an additional
  $80,000 from an administrative vacancy but that vacancy is expected to be filled
                                                                                        by the end of
  the academic year. The total available rate and cash to meet the
                                                                          costs of this proposal are
  shown on Exhibit 3.

          The foregoing proposal can be
                                           implemented at the start of academic year 2016-17.
  Additional adjustments would still need to be made within
                                                               faculty ranks and may be affordable
  via future attrition.     For example, three instructors on 12 month
                                                                                contracts are paid
  approximately the same or less salary as instructors on 9 months. Those instructors have made
  a specific request for
                           adjustment to their salaries. Unlike faculty member 7 (Exhibit 1), the
  services of instructors on 12 month contracts are
                                                      necessary (the three instructors comprise the
  College's bar preparation courses each surnmer).
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                                                                         February 73, 2016



                TO:                   Faculty
                 FROM:                Darryl! K. JonesVg
                                      Professor of Law

                                      Rationale for Salary Adjustments



                              Dean Epps announced at the last facuity rneeting that the
                                                                                      University has adopted a plan to make
                ce rtain
                         adjustments to faculty salaries. The purpose of this memorandum is to explain the rationale
                 used to determine which salaries were
                                                          adjusted and how adjustments were calculated. The plan was
                created and ail but approved by December 2015 after consultation between me, in my role as Interim
                Dean, Associate Dean Green, the Office of Institutlonal Research, and Provost David. The
                                                                                                             proposal is not
                intended as a complete or perfect response to all sala ry
                                                                          inequities.
                         Compensation Inequities at the College of Law, whether real or perceived, have stunted our
                growth and need to be addressed if the College is to mature. Different people perceive different
                inequities, but most agree that the most obvious problem Is "salary inversion." Salary inversion occurs
                when faculty of lower rank and tenure status earn more than
                                                                                  faculty with higher rank and tenure status.
                Inversion can occur for many reasons, but we found that salary inversion
                                                                                              at the College of Law resulted
                from the State's inability to provide regular cost of living raises to present or current
                                                                                                          faculty, combined
                with new faculty hiring under the economic conditions
                                                                           prevailing on the date cr: new hiring. As a result,
               a later hired faculty member often commanded a
                                                                     higher salary than earlier hired faculty of the same or
               in some instances lower rank.

                            The plan is based on
                                            compansons of each faculty member's 9 rnonth compensation. Salanes for
                faculty on twelve month contracts were converted to 9 month contracts solely to make accurate
               comparisons. Currently, there are four tenured Professors whose salaries are significantly less than
               other tenured Professors and in some instances even less or almost the same as tenured and
                                                                                                               untenured
               Associate Professors. There are eight tenured Associate
                                                                       Professors whose salaries are less than one or
               more untenured Associate Professors. There are high end "oudiere in each
                                                                                           category. The plan does
               not attempt to make the level of
                                                compensation paid to outliers the norrn or a goal for all faculty within
               the relevant class.

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               To eliminate inversions, the College determined an
                                                                  appropriate minimal amount for each rank
      anci tenure status. The minimal amount in each category is the amount necessary so that no
                                                                                                      faculty
        member of lower rank and tenure status is paid more than a faculty of higher rank and tenure status. if
        each faculty member is paid the minimal arnount pertaining to his or her rank and tenure
                                                                                                  status, salary
       inversion will be eliminated. The plan does not adopt a
                                                               prohibition against inversion it rnerely
       Implements a restart. Salary inversion may reoccur but it should only do so when a faculty member uf
       lower rank or tenure status, demonstrates exceptional performance or qualifications. The plan is not
      intended to reduce Dean's sole discretion to recommend merit increases or in any way reduce a
       Dean's customary role with regard to salary recommendations.

              The minimum amount necessary per faculty member to eliminate
                                                                              salary inversion is $140,000
      for tendred Professors aod $120,000 tor tenured Associate Professors. Twelve faculty salaries were
     adjusted, thereby eliminating all salary inversions. Salaries already at or above the minimum arnount for
     each rank and tenure status were not adjusted even
                                                                though there are, of course, arguments for
     ecijusiiiierils witiiiii each ciass. ilie plan is intended as a fiist tela to address tile a lust tiloviutm prukeein
     first. Adjustments were calculated by subtracting each faculty mernber's current salary from the
     minimal amount tor the appropriate rank and tenure status. Adjustments therefore
                                                                                                     ranged frorn
     approximately $2,300 to $24,000 annually. The plan makes no salary reductions.

              Faculty whose salaries are adjusted will be notified individually and asked te sign a new contract
     retroactive in January, 2016. Unfortunately, we cannot make retroactive adjustments to benefits
     except as required by law. For example, the University will not make retroactive contributions based on
     the adjusted salary for faculty who makes voluntary contributions to a 403(b)
                                                                                      plan.

              There may be salary inversion issues relating to instructor and other non-tenure track
        nipcnsation. Unfortunately, there are insufficient resources to address those issues at this time. if
     resources beconle available, the College and University will endeavor to address ail other salary
     inversion issues within the faculty, if it appears necessary, Dean Epps will schedule a
                                                                                             special faculty
     rneeting so that faculty may ask questions about the plan. Neither she,1 nor Associate Dean Green will
     discuss any particular faculty member's compensation publicly,



     cc: Associate Dean Green
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      IIBY      MR.       JOHNSON:

   2                 Q.         I    hate         those            talking               documents.                   Let        me        just
   3     ask     a     couple              of     things about                          the        job duties              of        the

   4     faculty           members.                     Is    there           --




                                                                                         assuming that                     you have               a


  5                       who        is     simply a faculty
         person                                                                              member, who is                      not

   6     doing         some          administrative                          duties                in      addition         to         being
  7      a    faculty               member, is                there           a         job description                     for            what

  8      that        job is supposed to do?
  9                  A.       I      believe             that           there            would           have       been         a


 10      description                  at        the      time           of    hire.                 I    don't        know           exactly
 11     how      that       description                       reads           as         to        their       particular
 12     positions                   and     the       position                number                that       they're               under.

 13     But      typically                  persons                hiring               in    the        position           with            the

 14     position            number                and there's                      a     job description                        with

 15     that         position               number.

 16                  Q.     I        guess         what            I    wanted               to     know       is     if    you have
 17     an      ordinary              faculty                member, they                         are       doing teaching,
 18     they're           doing research                               and    they're                   doing service,
 19     those         three           things,                right?
 20               A.        They are                  doing those                        three           things,           yes.
 21               Q.       As         part         of        the        teaching they're                            also        maybe
 22     holding office                          hours         and        counseling students?
 23               A.       Yes, that                    would            be        common.

 24               Q.       That            would             be part               of        the        teaching,           wouldn't

 25     it?




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      11                A.            That         would               be part                    of       the      responsibility
      2    certainly.
                                             is        there
      3                 Q.            So                                anything that                              would           take        a

      4    different                   kind            of     skill,                     effort              or
                                                                                                                   responsibility                        for

  5        professor                   A to            do her               job than professor                                     B?

      6                                MS.        SANTORO:                          Object               to       the     form.

  7                   A.              I'm     not           sure            I       follow.

  8        BY MR.            JOHNSON:

  9                   Q.          Aren't                they pretty                               much cookie                  cutter              jobs
 10        except            that           you're teaching                                       a    different               course?

 11                                   MS.         SANTORO:                          Object              to        the    form.

 12                   Q.          You're                serving                     on       different                  committee, you're
 13        writing            an           article                for           a    different                     journal?
 14                                   MS.         SANTORO:                          Object              to        the    form.

 15                   A.          I        would            not        adopt                 the        concept               of    cookie

 16        cutter.                No, I wouldn't                                    call              them        cookie           cutter.

 17        BY MR.            JOHNSON:

 18                   Q.          Then            if        somebody is                               teaching civil                      procedure
 19        and       somebody else                           is        teaching                        common           law        one,       is     there

 20        anything               that            would            cause                 a        pay differential                           because

 21        of    that        distinction?

 22                  A.           No, there                       is    not.

 23                  Q.           I     just used                      an           example that                        came        to       mind.         Is

 24        there        any other                      course,                      whether                it      be    evidence,
 25        whether           it         be        tax,            whether                    it       be        gratuitous                transfer,


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      1    anything that's                             more         complicated that                                 somebody is
      2    teaching              that            would          cause            a       pay differential                               versus                 a


      3
          professor                   who        is     teaching                 some          other             class?
      4                               MS.        SANTORO:                  Object              to         the        form.

      5               A.         I     think            if      I    understand                          the     question                   the

      6   answer            would           be,         no,         that         I       do    not            believe                that              pay     is

   7      linked            to        the        subject             matter               of        instruction.

   8      BY MR.            JOHNSON:

   9                  Q.         And        are         the         teaching loads,                             leaving aside
 10       whether               somebody teaches                                summer              or        not,        but         the

 11       teaching loads                          during             the        main           semesters,                       are         they
 12       meant            to    be     equal?
 13                   A.         There            is       an       expectation                      that            a    tenured                      track
 14       faculty               member would                        carry            a    teaching                   load        of         a


 15       minimum               12 semester                     hours.                   There           are         variations                         on


 16       that.

 17                   Q.         And        is        there          anything                  in        that            load

 18       differential,                      those              variations,                     that            would            be         a      basis
 19       for     a    difference                       in      salary?
 20                   A.         Not        to        my     knowledge.
 21                   Q.         Are        faculty                 members               expected to                       bear            a

 22       roughly equivalent load                                          of        committee                  service                and other

 23       kinds        of        service?

 24                   A.         Yes,        they are.
 25                   Q.         In     terms              of   publication,                             is     there            a




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      1     differential                           based         on    either               the     quantity                or     the

   2       quality              of        the        scholarly                output?
   3                    A.         My      hesitancy in answering that,                                                  I'm       trying         to

   4       understand                     the        question.                    Is     that        certainly                   the

   5       scholarly                 output               could         have           an     impact            on       their

   6       promotion and tenure,                                       which           as     a     consequence                    could

   7       have         impact on                    their            salary.
   8                    Q.         That's             something different.                                    I'm          talking
   9       about         within                the        same         rank,           that         would          be      something to
 10        come         later             as        you        get promoted                   and     you          get that               bump.
 11        Associate                 professor A,                       associate                   professor                B,

 12        associate                 professor                       A is    maybe getting                         out       a    few      more

 13        articles                and         they're                going to Harvard                        or        Yale        or


 14        something;                   and          associate                professor               B    is        not         getting
 15        out     quite             as        many and                they're              going to               some          lesser

 16        journal;                is      that           a     basis         for       a     pay differential?
 17                                  MS.           SANTORO:                 Object to the                     form.

 18                     A.         Not         as     I've            experienced at                      Florida                A&M and

 19        not     to        the        base          salary.                It        might impact                     summer

 20        research                grants,                other         supplemental compensation, but
 21        not     as        salaries                 have            been        determined               by the
 22        university.                         I    do         not     know        any        of     those           factors              being
 23        part         of    the         university                    formula               set     forth           for

 24        determining                     salaries.

 25



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       11BY MR.             JOHNSON:

       2                          What about
                       Q.                                      --

                                                                          do     faculty                have pretty                    equal
       3     responsibility                    to         the        university,                        to     the          students?

   4                   A.         Again, I'm                   not         quite            sure.              You          said       equal
   5         responsibility?
   6                   Q.         You    hire            a     faculty                member and that                            person            has

   7         certain             responsibilities,                              maybe it's                     the

   8         responsibilities                        that            we        talked             about,
   9        responsibilities                            for         serving            on         committees,
  10        responsibility                     for            doing            some      scholarship, responsible
  11        for      teaching,             responsible or counseling students,
  12        obviously responsible                                    for        showing up                    on        time,          for

  13        doing the             minimum                level             of     work,               for     being informed,
  14        for      participating                       in         things;            is        there          any kind                of

  15        differential,                  leaving aside                              administrative                            work,
  16        between          teaching faculty                                  member A and                    teaching faculty
  17        member B,             they have                   the          same        responsibility,                             do        they
  18        not?

  19                              MS.     SANTORO:                         Object to                   the      form.

  20                              MR.     JOHNSON:                         I    can     see            why.
  21                 A.          My     problem is you kind                                      of         have        a   couple
  22        questions in different                                    ones.             If        I         understand                 what        the

  23        intent          of    the     question is that                                   I    don't            --

                                                                                                                            I    guess         the

 24         short       answer           is,        I        don't             know     of        the         expected
 25         responsibilities                        of        professors                     in        the     same             rank         and



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      1   any differences                            that          there         may         be.         I        don't         know     of

      2   that          being part of any university calculation                                                                   in    terms

      3   of      salary.
      4   BY MR.             JOHNSON:

      5                 Q.        And         even         after        you       move           up      a        notch         from

      6   associate                    to     full         professor,               I     mean           basically                you're
   7      still           doing the                  same         job       as    you        were            doing yesterday,
   8      aren't             you,           except that                 maybe you're                         passing             on     the
   9      promotion of                        others?

  10                    A.        It's         difficult                to       answer            that            question
  11      because               it's          somewhat             broad.               And        I'd        have         to     say     that

  12      as      one        advances                up the            ranks,           certainly                   the

  13      expectations from                                that        person           in       terms             of     the     quality
  14      in      which          they do their                         work       may very                   well         change and
  15      that's             what's            a     part         of    what's            built              in     the     promotion
  16      and tenure                     process.

  17                    Q.       But         isn't          that        a    double-edged sword though,
 18       that          certainly                  there          is    a    whole           body of                literature
 19       that          talks            about        people become                       full           professor                and     rest

 20       on      their          laurels?

 21                                MS.         SANTORO:                 Object to the form.
 22                 A.           Is         that      a     question?
 23       BY MR.             JOHNSON:

 24                  Q.          Yes.

 25                 A.          What's               the     question?


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                                                  05/19/15agPage        16
                                                                   75ofPageID 61
      1                   Q.       Isn't          there        a     body of literature,                                   a      body of
      2      wisdom             that          says    people become                       a     tenured               full

      3      professor and they                             rest       on     their             laurels,                  they become
      4      dead wood?

      5                                MS.       SANTORO:             Object to the form.
      6                   A.       I     can't        concur          with         that             categorical
   7         statement.

   8        BY MR.              JOHNSON:

   9                      Q.      Not         that         everybody does, just                                it's            not

  10        unknown              that          Lhexe's         some         full         professors                       take        it

  11        easy?
  12                                   MS.     SANTORO:               Object             to         the    form.

  13                      A.      I      suppose           that       there             are         certainly                  instances

  14        that          one     can         find     throughout the academy in which
  15        there          are         full      professors                 who do not                    perform                as        well

  16        as     other          full         professors.
  17        BY MR.              JOHNSON:

 18                   Q.          Working conditions,                              is         all     your           work         there           in

 19         that      building,                  in    the         same      building,                    do    all          your
 20         professors teach                          in     the      same         building?
 21                                    MS.     SANTORO:               Physical location?
 22                                   MR.      JOHNSON:               Yes.

 23                   A.          As      a    general rule                  all         courses               are         scheduled

 24         in     that          building.                 There       may be                 instances               where            there

 25        may be               special assignments where                                      someone               is      teaching


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                                                                          16    62
       11    professor                   was     denied                  because               she lacked                       a       sufficient

      2      number             of       scholarly                     publications.                           Is        that             the         true

      3      reason,             to       the         best             of      your          knowledge?
      4                   A.         I    believe                 that           is      correct,                to           the        best          of      my

      5      knowledge.
      6                   Q.         Looking at these                                  things,                would            it        be         fair       to

   7         say      that           2013 is                a     purely quantitative                                         statement?

   8                                     MS.     SANTORO:                        Object to the form.
   9                      A.         Well,            it        certainly                    talks            about            a        sufficient

  10        number,              but       it         also             talks           about            the     publication                            being
  11        scholarly,                    which             would            be        qualitative.
  12        BY MR.             JOHNSON:

  13                      Q.         Well,            it        says         number             of       scholarly
  14        publications,                        so         are         you        saying that                      that's                    an


  15        assessment                    of     the                               of
                                                                nature                       the        publications                           as      well

  16        as      the        number            of         them?

  17                  A.             I    believe                 that           was         reflected                   in        the         report
  18        from          the        committee.

  19                  Q.             Number                6,     it        asks        please            state                all            the

 20         reasons             that           plaintiff                     was        paid a lesser                              salary than
 21         her      male            colleagues of associate                                             professor rank.                                     And

 22         it      says        salaries                    are         negotiated at                         the         time            of         initial

 23         hire.              Dean        Leroy Pernell                               was     not        involved                       in        any
 24         matter             with        the         initial                   salary            or     hiring                   of     plaintiff
 25         as      she        was       hired              prior           to         his     tenure               as        dean             of     the



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       lCollege                   of      Law.             A        number                  of     factors                  are            considered

       2    regarding the hiring                                            of     and           compensation paid                                       to            new

       3    faculty,                including                       but          not         limited                  to,         demands of                                 the

       4    hiring               market            existing                      at       the          time           of     hire                and          as


       5    indicated                   at      competing institutions                                                     and/or                dictated                      by
       6   the      salary already being earned                                                             by the                potential                           hire,
       7   the      need of                   the        College of                          Law        to          fill          a        particular
       8   position                as         well         as


       9
           professional/academic/administrative experience,                                                                                                           areas

  10       of     expertise                    and         history                     of        publication.                               Other

  11       practical                    concerns                    include                  the        amount               of            funds

  12       available                    and if             the             candidate                    negotiates                          the          offered

  13       salary.
  14                               So this                 touches                    back          on          something that                                   we


  15       talked                about         a       little                earlier.                       We        asked            this             question
  16       and     I        was         looking                 for         an        answer                that            said            something
  17       like            Jeffrey             Brown                is      paid more                       because                   he     has            X        years
  18       of     experience                       and          he'd             written                Y       number                of     articles

 19        and     Yale            Law         School                 offered                    him        a       huge pay                 increase

 20        and               had                   match              it.
                  we                     to                                           I     was         looking               for            something
 21        that            had those                   kind           of         answers.                       And what                    we     got here
 22        was    basically                        a     general list                             of        criteria                   that            may              have

 23        affected                the         starting                     salaries.                           I'm        wondering where
 24        can     I        go,        who         can          I     ask,            how         can           I    find             out        what               was

 25        going            on     in        the        mind             of       the            hiring              authorities                            to


   pay:
   1
                       '




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                                                         Page 15 of16    16
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       1
                Jeffrey           Brown                more           starting                  salary?
      2                   A.           I       cannot             answer                 that        other            than            I        think            the
      3         response               that            you indicated                            here           in    number                    6    speaks            to

      4         the     factors                     that        would             have          been           considered.

      5                   Q.           It           speaks to                the          factors,                  but     I         mean              it

      6         doesn't           apply those                          factors                  to     the          particular
   7            individuals                      that           are      the             comparators.                       I         mean              here's

   8            my     difficulty,                         is     that            I've          got        a    claim                here           that         says
   9            that      she's                paid, Jennifer                             Smith, is paid less                                           because

  10            she's         a   woman.                    And FAMU is                         saying, oh,                          no,           that's           not

  11            why, there                     are         other         reasons                 why.               And I             say,              okay,
  12            what     are       the               other            reasons?                   And           nobody           --

                                                                                                                                           I        want         to

  13            know     who       I                       question about                            that,           where
                                               can                                                                                        am        I    going
  14            to     get those                     facts?

  15                     A.        I           don't            know         if      I     can        answer              that             question
  16            for     you.               I    can         indicate                 these            are           the    factors                       that
  17            are     considered.                             But      I     mean         I        don't           know                                    else         I
                                                                                                                                      anyone
  18            would         refer             you         to.

  19                     Q.        Do           you         know         Mr.         Luney?
 20                      A.        Are               you        referring                  to        Percy Luney the                                    prior
 21             dean?

 22                      Q.        Yes.

 23                      A.        I           do     know him.

 24                      Q.        Do you                   know         where            he         is?

 25                      A.        I           do not             know where                    he is               currently.


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 Re:    Makeup Class
 Green, Reginald M. <reginald.green@famu.edu>
 Wed 2/1/2023 3:41 PM

 To: Smith, Jennifer <jennifer.smith@famu.edu>

 Jen,

 The process was to meet with the student and discuss the misconduct
                                                                      allegation. Before I could meet the
 student, she had already filed her complaint which raised EOP issues. As a result, since the matter
 involved a faculty member, she sent her complaint to Cooper. To my
                                                                      knowledge afterward a
 determination was made to send the matter to EOP. We could not conduct two
                                                                                separate investigations
 without interfering with the other. An EOP investigation supersedes a conduct
                                                                                allegation.

 Sincerely,


 RMG

Reginald M. Green, J.D.
Associate Dean for Student Services and Administration
Florida Agricultural and Mechanical University
College of Law
201 Beggs Avenue
Orlando, Florida 32801
407.254.3205 Office
407.254.3214 Fax
mginald.green@famu.edu
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From: Smith, Jennifer <jennifer.smith@famu.edu>
Sent:Wednesday, February 1, 2023 2:48 PM
To: Green, Reginald M. <reginald.green@famu.edu>
Subject: Re: Makeup Class


Hey...you never did anything about this complaint and now I'm being investigated when the student
should be, and Reyes is all over this. What came of this? Compliance said
                                                                          you did not follow
procedures.

Jen Smith

From: Green, Reginald M. <reginald.green@famu.edu>
Sent:Thursday, October 20, 2022 8:46 PM                                                PLAINTIFF'S
To: Smith, Jennifer <jennifer.smith@famu.edu>                                            EXHIBIT
Subject: Makeup Class
     Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 17 of 75 PageID 66

Jen,


 lwill try and identify the student tomorrow. Please feel free to send
                                                                       me an email
interaction.                                                                       detailing the


Thanks for the notification.


Sincerely,

Reginald Green



Reginald M. Green
Associate Dean for Student Services and Administration
Florida Agricultural and Mechanical
                                    University
College of Law
201 Beggs Avenue
Orlando, Florida 32801
407.254.3205 Office
407.254.3214 Fax
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    OFFICE OF THE PROVOST AND
                                                                                                          TELEPHONE: (850) 599-3276
    VICE PRESIDENT OF ACADEMIC AFFAIRS
                                                                                                          FAX: (850) 561-2551



                     December 5, 2023

                     Via Hand Delivery by Process Server,
                     Electronic Mail to jennifer.smith@famu.edu, and
                     CERTIFIED MAIL-7020                     5973
                     Return Receipt Requested


                     11,c_       CONFIDENTIAL
                                 yotice of Intent to Dismiss from Employment

                                                                                                              PLAINTIFF'S
                     Jennifer M. Smith                                                                          EXHIBIT
                     angoantoga•
                     imbeekwatives                                                                                    6
                 Dear Professor Smith:

                 Pursuant to Florida Agricultural and Mechanical University ("FAMU") Board of Trustees
                 Regulations 1.019(21), 10.120, and 10.205, you are hereby notified of the University's intent to
                 dismiss you from employment on January 19, 2024. You are placed on Administrative Leave with
                 Pay, effective immediately, until the resolution of this process, in accordance with University
                 Regulation 10.120. In the interim, please refrain from reporting to work or visiting the area(s)
                 related to your current work assignments unless otherwise notified
                                                                                        by this Office. Regarding
                 administering and grading your exams, arrangements have been made. Should you need access to
                 your work area, please contact Deidre Keller, Dean of the College of Law, in advance for approval.
                The reason for this employment action is the substantiated
                                                                            finding of retaliation documented in the
                FAMU Division of Audit and Compliance Investigation Report 2022-11-117, dated June 5, 2023,
                and Supplemental Report 2022-11-117, dated July 6, 2023, which are attached and
                                                                                                        incorporated
                in this Notice of Intent to Dismiss from Employment
                                                                         (`Notice"). Subsequent to the referenced
                reports, you continued to engage in behavior which you were advised was retaliatory, as evidenced
                by your memo dated October 5, 2023, also attached and incorporated in this Notice.

                The University, therefore, proposes your termination from
                                                                          employment for just cause pursuant to
                University Regulations 10.205(5)(a)  and  1.019(21). Evidence at any conference regarding your
                termination of employment may be used by the University to support its finding and all witnesses
                and evidence upon which the determination was based.

                In accordance with University Regulation 10.120,
                                                                    you have ten (10) days or until December 15,
                                                                                                      —




                2023 from receipt of this Notice to submit a written
                                                                        request for a conference to provide an oral
                             —




                or written statement in          to this Notice. Your
                                        response                      request for a conference may be provided to
                                             FAMU IS AN EQUAL OPPORTUNITY/EQUAL ACCESS UNIVERSITY
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            Dr. Reginald Perry, Interim Associate Provost for Academic Affairs and
                                                                                         Faculty. Late requests
            will not be considered. The conference will be held on January 11, 2024, at a time and
                                                                                                          place
            determined by the University. You are permitted to bring a
                                                                        representative to advise and assist you
            in the process, but discovery, cross-examination, and similar legal
                                                                                procedures are not permissible.
            Any documentation you intend to present during the conference should be submitted to Dr. Perry
            no   later than January 8, 2024, at
                                                  reginald.perry@famu.edu.

            Pending a final determination in this matter, you are expected to refrain from any behavior that
            disrupts the University, violates any University regulations or policies, and/or misuses any
            University resources, whether in person or via electronic mail. You are also expected to maintain
            professionalism throughout this process pursuant to University Regulations.

           Additionally, please call to arrange the return of all University equipment and property, which you
           may have in your possession or control, to Reginald Green, Associate Dean for Student Services
           and Administration at the College of Law, pending the final decision.
                                                                                      University equipment or
           property shall include any and all keys, cellular phone(s), iPads, laptop computers, electronic
           devices, computer passwords, flash drives, data files, both hardcopy and computer records. Any
           University equipment or property that you may have offsite of FAMU's campus must be returned
           to the University immediately.

           The University desires to reduce the risk of error in
                                                                 taking this proposed action against you and to
           avoid damaging your reputation by untrue or erroneous charges. Therefore, the
                                                                                                  University is
           interested in receiving and considering your response in this matter.

           Sincerely,



           Allyson Watson, Ph.D.
           Provost and Vice President for Academic Affairs

           cc:      University Regulations 1.019, 10.120, 10.205
                    Referenced documents- Reports and Memo




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    FAAAH OFFICE OF COMPLIANCE
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                                    FailiCtiu8F5CoMPLIANCE
                                    AND ETHICS

                                     June 5, 2023

    Larry Robinson, Ph.D., President
    Florida Agricultural and Mechanical University
    400 Lee Hall
    Tallahassee, Florida 32307


    Dear President Robinson:

   Attached is FAMU-2022-11-117 Investigative Report,
                                                           addressing allegations of employee
   misconduct regarding Professor Jennifer Smith. The Office of Compliance and Ethics
   (OCE) concluded that allegation 1 related to disruptive conduct is UNSUBSTANTIATED
   and allegation 2 related to retaliation is UNSUBSTANTIATED.
                                                                  However, an additional
   finding of retaliation related to Professor Smith's subsequent actions is SUBSTANTIATED.
   If you need further information, please contact our office.


   Best,

   AC.a. eal&car.
   Rica Calhoun


   Copy to:
   FAMU Board of Trustees
   Dr. Maurice Edington, Executive Vice President & Chief
                                                            Operating Officer
   Dr. Denise Wallace, Vice President and General Counsel
   Deidré Keller, Dean, College of Law
   Dr. Allyson Watson, Interim Provost and Vice President of Academic Affairs

   Joseph Maleszewski, Vice President of Audit
   Ella Kiselyuk, Associate Vice President, Chief Human Resources Officer
   Jennifer Smith, Professor
   Michelle Wanamaker, Student
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                                                                              FAMU 2022-11-117

   Background
   On October 27, 2022, The Office of
                                      Compliance and Ethics (OCE) received a referral via
   email from the Office of Equal
                                  Opportunity Programs (EOP) Director, Dr. Latrecha Scott.
   College of Law student, Michelle Wanamaker, reported her concern regarding a negative
   interaction she had with Professor Smith and believed that Professor Smith violated the
   University Code of Conduct by her behavior.

   Authority
   University Regulation 1.019 (3) and (21) (University Code of Conduct)
   University Regulation 10.111 (Disruptive Conduct)


   Purpose
   To determine whether Professor Smith violated
                                                   University policy regarding the allegation of
   employee misconduct.


   Standards
  The investigation was conducted in compliance with the
                                                         principles and standards in the
  Standards for Complaint Investigations for the State
                                                         UniversitySystem of Florida, published
   by the Florida Board of Governors. Those standards      require that we plan and perform
  investigations to obtain sufficient, appropriate evidence to provide a reasonable basis for
  our   findings and conclusions. We believe that the evidence provides a reasonable basis for
  our   conclusions.



  Scope
  To determine whether Professor Smith violated the University
                                                               policy regarding allegations
  of misconduct, OCE utilized the following
                                            methodology:
           •   Reviewed the complaint
           •   Interviewed parties and witnesses
           •   Reviewed relevant documents




  Complainant Interview
  On October 25, Ms. Wanamaker emailed Markita
                                                  Cooper, Associate Dean of Academic Affairs,
  a narrative of events that took
                                  place on October 20, 2022, stating that she wanted to file a
  formal complaint again Professor Smith. The complaint included the
                                                                       following:


                                                                                     1
                                                                                         )Page
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                                                                                FAMIJ 2022-1 1-1 17

   7 would like to file a formal complaint
                                           against Professor Jennifer Smith. Today, in front of
   multiPk students Jennifer Smith entered and remained in my personal space. While within
   2-3 of my face, she reprimanded me, and insulted me
                                                           multiple times. At approximately
   10:25 AM, I entered our usual classroom for Evidence. Jennifer Smith was
                                                                             sitting at the desk
   in the front of the classroom. There were no students inside. One of
                                                                        my colleagues was in
   the doorway. Upon entering the room, I said to her; "Professor Smith, we have Evidence in
   this classroom, and we need to..." She interrupted me and said, 7 know, AT 10:30." I then
  tried to explain that we needed to come inside to be
                                                          prepared for class on time. She
  interrupted  me  again and repeated, "AT 10:30." She then gestured me to get out. The
  physical gesture was with her hand, akin to how one would "shoo" an animal away. I did not
  respond. Heft the classroom and proceeded to wait in the hallway. The hallway was filled
   with students waiting to enter Evidence and 1L's waiting for Professor Smith. There were
  at least 40 students in the hallway. My colleagues were
                                                              visibly and audibly upset about our
  inability to enter our class and adequately prepare for lecture. It is normal practice for our
  professor to expect us to begin our case briefs at the very start of class. Additionally, our
  professor has previously given us timed pop-quizzes that begin at our class start time. We
   were   anxious to enter   our   classroom. While in that hallway, I noticed Professor Smith's
  classroom was completely empty. One of my
                                                 colleagues reminded me that Professor
  Henslee completes his Torts course in that room sometime around 10:00 AM. Professor
  Smith was on notice that we were anxiously awaiting entrance to prepare for our class. Her
  adjacent classroom was open and available, but she chose to remain in our class until
  seconds before our class start time. Jennifer Smith was knowingly interfering with our
  ability to be prepared for Professor Reyes's Evidence class. At approximately 10:30 AM, she
  swung the door open. I was standing to the left of the door, leaning against the wall. She
  stepped towards me, blocking the door, and stopped directly in front of my face. She said,
   "don't ever do that again" in a stern, diminutive tone. I said, "excuse mer While stffl inches
  fkom my face she repeated, "Thad a make-up class. Don't'do that
                                                                      again!" Her tone was raised,
  and she was in a physically threateningposition to my body. She had me backed
                                                                                       against the
  wall with   her body directly in front of mine. I was in shock and paralyzed with fear. As she
  stepped away from my face, I replied, "You are being unprofessional." She was in the motion
  of opening the door to the classroom adjacent to ours where she
                                                                           typically conducts her
  10:30 class. She heard me say she was unprofessional and she
                                                                     abrupdy turned around and
  belted out, "YOU ARE UNPROFESSIONAL AND WILL NOT GO FAR!" I
                                                                           responded again with,
  "excuse mer She then repeated, aloud in the hallway, "YOU WILL NOT GO FAR!" This
  traumatic event happened in the presence of 40-50 of my
                                                            colleagues. Professor Smith's 1L
  Civil Procedure students were in the hallway, as well as
                                                           my entire 2L Evidence class. After
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   this exchange, multiple students approached me in shock
                                                              Many offered to support me and
   give their eye-witness account of this situation. Word began
                                                                spreading immediately. I have
   been approached by multiple students offering
                                                     support or asking what happened. I have
   received emails and phone calls regarding this event. This situation has me
                                                                                  absolutely
   traumatized and dreading coming back to school at FAMU Law. I am a student leader on our
   campus who goes above and beyond to serve my colleagues and community with the
   upmost professionalism. I am the President of the Women's Law Caucus. I serve 017 the
   FAMU COL Student Leadership Committee. I am a Junior Editor on Law Review. I am the
   current Holland & Knight Scholar. I have organized and participated in countless events in
   support of our school. I am utterly sickened and discouraged by this violent encounter
   within the walls of our law school Jennifer Smith was threatening in her proximity to
                                                                                                 my
   body, in her elevated tone, as well as her insults. She was so close to my face that I could feel
   the warmth of her breath. I felt assaulted. She
                                                  degraded and embarrassed me in front of my
  colleagues. She bullied me and created a hostile environment for me at mylaw school. I have
  never engaged in a conversation with
                                        Jennifer Smith before today. Her verbal and              physical
  aggressions were     completely unprovoked. I do not feel safe in her presence.         Jennifer Smith's
  abusive behavior was in direct conflict with 6C3-1.019
                                                        University Code of Conduct. I would
  like to pursue this complaint to the maximum extent
                                                      possible."

  On November 15, 2022, Ms. Wanamaker
                                             provided five eyewitness statements from students
  that were   present in the hallway during the interaction.



  Respondent Interview/Statement
  Jennifer Smith, College of Law professor, February 1, 2023
  Professor Smith denied the allegations, indicating that she "reviewed the relevant
  provisions that [OCE] cited, but none apply." Professor Smith explained that she was using
  another classroom for make u classes due to it being cancelled because of a hurricane.
                                                                                         The
  following statement was provided via a February 7, 2023, memo sent the OCE:




  Substance of the Incident

  On October 6, 2022, I reserved the subject classroom
                                                        (Room 253) for October 20, 2022 for makeup
  classes, which were cancelled due to a hurricane (Exhs. G, .1). The classroom is
                                                                                   usually empty, and it is
  the classroom next to the one I was
                                      assigned for my 10:30am   classes  (Room 255) on M, T, TH.


                                                                                                  3IPagc
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   On October 20, 2022, 1 was in the classroom
                                               for oral exams, which require students to come in one by
   one for no more than about 3 minutes. The students wait outside the
                                                                       classroom until the next student
   comes out until the exams are                       the middle of the oral exams, a student (not
                                 complete. Sometime in                                                   WM)
   entered, and I explained that 1 was having oral exams. The student left. Soon
                                                                                     after, MW aggressively
   entered and interrupted tny student doing her oral exain. 1 explained to MW that I am
                                                                                             having oral exams,
   and she did not care and responded with indignation that her.
                                                                    professor. Prof Reyes, told students to
   make sure they are set up for class at 10:30am. She
                                                        felt entitled to be in the classroom before her class
   began. 1 said it is far from 10:30 am, and I have the room reserved. I literally had to verbally demand she
   leavefor her to get out. She was not pleased and expressed that. She had to know that the classroom was
   being used because students were in the hallway chatting about what was going on in the classroom,
   including my students who were scheduledfor oral exams.
  At about 10:29am on that day, I finished the exams and
                                                            gathered my stuff to exit the classroom, which has
  two entrances/exits. When I            the  door, MW
                                 opened                was standing right there waiting to come in the
  classroom. I said to her not to do that again (referring to her entering the classroom
                                                                                          being used and
  being rude), and she passed by me as she got loud and rude and was so disrespectful; I was
                                                                                                   floored. I
  knew by her aggressiveness that she was likely from the New York/New              area   she's from
                                                                            Jersey      -




  Philadelphia, I later learned. She walked all the way to I believe the last row being
                                                                                         absolutely
  disrespectful. When she was at her seat in the back, I said from the front door something like: "With your
  attitude, you will not get far in law/life."
  At 10:30am, I texted Associate Dean Green about the
                                                        incident, indicating that the student was
  "aggressive rude," then went into my classroom (255) to teach my class. A student ofmine who saw it,
  JoAnna Clayton, asked me ifI wanted her to
                                               get me some water before I started teaching. I declined.
  Associate Dean Green emailed back that night, and I assumed he would handle it
                                                                                     from there (Exh. E).
  Students began talking about the incident to others. On October 31, 2022,
                                                                            Prof Patricia Broussard told
  me that the student was MW, who is
                                      supposed to be interning for the same
                                                                          firm  where I was a
                                                                                            partner.
  Prof Broussard said she was looking for MW as it related to the women's law group and she asked a
  student/friend ofMrs, who relayed to Professor Broussard that MW was not feeling well and was
  remorseful, ashamed and embarrassed about HER OWN conduct regarding something that occurred. 1
  made a note of it (Exh. H).

  Then, again in December, Professor Broussard relayed that she was in the stall
                                                                                 of the ladiesroom when
  she overheard a few students discussing how badly MW felt because of her conduct              the
                                                                                        regarding
  incident. Again, MW was concerned about HER OWN behavior and was
                                                                             physically ill about her conduct
  towards me. It appeared to me that MW's concern was
                                                            largely concerned because I was a former partner
  with the firm. I did not hear much about this after. I said to
                                                                 Prof Broussard that perhaps I should send
  MW an email to let her know that I am not going to report this incident to the law firm or the bar,
  although I believe it was questionable as to whether I had reporting obligations to The Florida Bar about
  the incident. Prof Broussard said that it would be
                                                      great if I did send MW an email to give MW peace and
  show her how professionals act or respond in these cases.
                                                                Prof Broussard has regular contact with the
  MW, who never mentioned the incident to Prof Broussard.

  On December 18, 2023, I sent the following email to MW
                                                         (Exh. I):
  Hi. I ant the professor who you met accidentally in the
                                                          hallway several weeks ago (late Oct) when I was
  doing makeup exams in the classroom on the second floor. I was a partner with H&K where you will
  work this summer. I am proud ofyou and would not do anything to
                                                                       interfere with a student's career. I
  wish you the best, and if I can ever help you in                 reach  out.
                                                   any way, please


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   Best,

   Prof Smith
   MW did not respond. I believed the issue was over until I received the emails
                                                                                  from Ms. Baker on January
   26, 2023 and January 27, 2023, with a bit more detail         A,
                                                         (Exhs.     C). The first time I had any notice that I
   was   ever   the subject ofan
                              investigation regarding this incident was January 27, 2023, and with more
   details on February 1, 2023, yet
                                     apparently a complaint had been filed on October 27, 2022 over 90 -




   days before. The  Dean's office made  the unilateral decision to escalate the
                                                                                 complaint without ever
   speaking to me, and I was never informed about the escalation ofthe student
                                                                                   complaint orchestrated by
   the Dean's office nor was I informed that the
                                                  complaint I filed a week before Mrs was going to be
   ignored.

   There are    cameras   in the hallway that should
                                                       give some context of the incident.
   Conclusion

   I am not sure what I could have done to avoid this incident. I
                                                                  reserved the      classroom, but even if not,
   students do not have the right to use the classrooms
                                                        for study places, and they certainly do not have the
   right to use the classrooms being utilized by professors. Further, if a student walks in on a classroom,
   what response should he/she have but that he/she is
                                                        sorry for the intrusion and depart quickly. This
   should never have been a "back and forth"
                                               argument with a student in the middle of another student's
   examination. I also should not have had to bump into or encounter the student as I was
                                                                                             leaving the
   classroom. The student did not need to be at the door
                                                         entrance, ready for battle as I exited.
  I reported the immediately reported the incident of
                                                        being confronted by an aggressive student, which
  Associate Dean Green indicated would be
                                              immediately handled. In reporting the incident, I assumed that
  the COL was handling it and would contact me as needed, but I
                                                                    certainly did not know that I was the
  alleged subject of an investigation at any point until over 90 days later. This is
                                                                                     problematic and
  unprofessional.
  I did not retaliate against the student; indeed, I sent her an email to
                                                                          give her peace about her behavior in
  the incident, which clearly she relayed to others. When I continued to hear how
                                                                                      ashamed she was about
  her conduct, especially because I was a
                                             former partner at the firm she will be working soon, I
  gratuitously sent her an email to minimize herfears about relaying the incident to interfere with her
  career. I have emails and witnesses about the student remorse
                                                                     regarding her OWN conduct, not mine.
  The chain of documents alone that I have
                                             provided already and am resubmitting with this memorandum
  support my position that I reserved the room, was confronted by a student and
                                                                                  reported the incident
  immediately, documented the student's alleged conversations to others about her own
                                                                                         disruptive conduct,
  and harbored no negativity or retaliatory motives
                                                     by the email I sent to MW to give her peace about her
  disruptive conduct. Never in my 30 years as a lawyer have I ever been accused
                                                                                  of any       employee
  misconduct.




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   Professor Smith provided the name of a student who was also
                                                                    present and could give
   additional details related to the incident. She also provided the text
                                                                          message that she sent
   to Associate Dean Reginald Green.




             Thuminy Oclohnr 20, 2022
                                                -       •

                                                                                 „




         Hey...I had a
        hurricane make                              <       New conversation
        up class in
        253 until 10:30                                 Reginald Green Assoc Dean C)

        and one of
                                               Recipient
        reyes' students
        (Hispanic blonde)
        was so rude                                            Aggressive rude
        because we were                                                         0.30 AM
        •1     •-.



   Employee Witness Interviews
  Reginald Green, College of Law Associate Dean March 13, 2023
  Dean Green provided the following written statement:
  "On October 20, 2022, around 10:30 am, Professor Jennifer Smith contacted me
                                                                               by text:
  "Hey...I had hurricane make up class in 254 until 10:30 and one of     reyesstudents
   (Hispanic blonde) was so rude because we were in the classroom. I immediately went to
   room   254 to investigate. Upon arriving at room 254, Professor Maritza
                                                                             Reyes had begun
   her class (which it appears followed Professor Smith's
                                                            class) and Professor Smith had
   ended her class and left. Since Professor Smith's email did not communicate the name of
  the student, I sent her an email later that day telling her would "try and
                                                                 I
                                                                               identify the
  student tomorrow". I also encouraged her to send me her details about the "interaction" in
  writing. By the time I had identified who the student was, was informed that the student
                                                                     I


  had filed a grievance with Markita Cooper who was the Associate Dean for Academic
  Affairs. Per the Student Handbook, student petitions or grievances
                                                                        involving faculty should
  be forwarded to the Associate Dean for Academic Affairs. At the same
                                                                           time, I was notified
  that the complaint involved EOP issues (hostile environment and fear). Within
                                                                                     days of
  learning of the complaint, I was copied on an email from then Provost Edington to Latrecha
  Scott who was Director of Equal Opportunity Programs and Labor
                                                                       Relations/Title IX.
  Provost Edington's instructions were for her to "please review and take
                                                                              appropriate

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    action." At that time, without a written
                                             complaint from Professor Smith and an internal
   inquiry being conducted by Associate Dean Cooper and EOP, the
                                                                         process had ended for me.
   Even if Professor Smith had sent a formal
                                                 accusation of a student code of conduct violation,
   it would have been                to conduct  two separate
                         impractical                            investigations without interfering
   with the other. It is my belief that an EOP
                                                investigation superseded a conduct allegation.
   While investigating the EOP               it would  be impossible not to evaluate the student's
                                 allegation,
   conduct."


   Markita Cooper, Associate Dean for Academic Affairs and Law
                                                               Professor February 6, 2023
   Dean Cooper provided the            written statement:
                             following
   7received Ms. Wanamaker's email with the
                                             complaint attached on Tuesday, October 25,
   2022. The email cc'd another
                                faculty member, Professor Maritza     I           to the
                                                                    Reyes. responded
   email on Tuesday, October 25,
                                 acknowledging receipt of the complaint and advised Ms.
    Wanamaker that I would ask my assistant to contact her to set
                                                                  up an appointment. In this
   message, I noted that Ms. Wanamaker had copied Professor
                                                                Reyes and advised her that
   because the complaint raised sensitive
                                          personnel issues, it would not be appropriate for me
   to include other faculty members on communications
                                                        regarding the matter. Ms.
   Wanamaker responded with a thank
                                       you in an email on Tuesday, October 25.
   On the afternoon of
                       Wednesday, October 26, Professor Reyes sent an email to Ms.
   Wanamaker, apparently in response to Ms. Wanamaker's email
   The email began with Professor                                  submitting the complaint.
                                   Reyes stating 7 have been waiting for Associate Dean
  Markita Cooper to respond to the
                                    complaintyou submitted to her about the inddent with
  Professorlennifer Smith  last Thursday...I wanted to give her the first opportunity to
  respond." I had responded, but did not include Professor Reyes in the
                                                                           response, as
  explained in the message to Ms. Wanamaker. The message from Professor
                                                                              Reyes also
  stated, among other points, that 7 infer that, because you            in
                                                             copied me     your
  emall/complaint to Associate Dean Cooper, thatyou want me involved in this matter."
  Concerned about the nature of the allegations in the
                                                         complaint (including bullying, creating
  a hostile environment, and "abusive behavior in
                                                    direct conflict with 6C3-1.019 University
  Code of Conduce') as well as having another
                                                faculty member involved in the discussions of
  the complaint and any attempts to
                                     informally resolve the matter at the College of Law level,
  I sought guidance from the
                               University EOP Office. I forwarded the complaint and related
  emails that I had received from Ms. Wanamaker and Professor
                                                                   Reyes to Ms. Kimberly
  Ceaser, Ms. Latrecha Scott, and Ms. Letitia McClellan on the afternoon of
  October 26.                                                                Wednesday,

  On the evening of
                    Wednesday, October 26, 2022, Ms. Wanamaker sent an email,
 she needed clarification before                                                 stating that
                                  scheduling a meeting with me. She requested clarification
 as to whether she was to be afforded an advisor
                                                  during the meeting. Her position was that
 she was "afforded the right to have an advisor
                                                present during hearings and proceedings
 related to various violations of the Student Handbook."
                                                         (This complaint, however, did not
 involve a violation of the Student
                                    Handbook)

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   After I forwarded the email messages to EOP, I was advised not to meet with Ms.
    Wanarnaker, and that Ms. Ceaser would contact her and assist regarding the next
                                                                                       steps in
   the process. On Wednesday, November 2, I sent an email to Ms. Wanamaker
                                                                                   advising her
   that I had reached out to the University EOP Office. In this
                                                                message, also informed her
                                                                         I
   that Ms. Ceaser was reaching out to her to assist with the next
                                                                   steps in the process."


   Patricia Broussard, College of Law Professor,
                                                   February 1, 2023
   On February 2, 2023, Professor Broussard
                                             acknowledged that she advised Professor Smith
   to reach out to Ms. Wanamaker. Professor Broussard
                                                      explained that she became aware from
   students that Ms. Wanamaker was upset about her actions. Professor Broussard said that
   she told Professor Smith that this was a way to show Ms. Wanamaker that she would
                                                                                        not
   hurt her and how women could uplift one another.

   Student Witness Interviews
  Complainant Witnesses
  The OCE spoke with four of the five students who confirmed the staternent received from
                                                                                          the
  Complainant was true and accurate. In summary, the students recalled hearing Professor
  Smith aggressively saying that "you won't go far" to Ms. Wannamaker in a loud tone and
  commented that it was unprofessional.


  Respondent Witness
  On February 8, 2023, OCE spoke with the student that Professor Smith said could
                                                                                     provide
  information. The student confirmed being present and outside of the classroom. The student
  recalled Ms. Wanamaker being next to her "with an attitude" and Professor Smith
                                                                                  whispering
  to Ms. Wanamaker that her behavior was
                                               inappropriate; however, Ms. Wanamaker replied,
  screaming, that Professor Srnith was being inappropriate. They both exchanged words, with
  Professor Smith telling Ms. Wanamaker that she would not go far. Ms. Wanamaker walked
  off stating that she was going to go tell Dean Cooper.

  Additional Documents Reviewed/Requested
  Video Footage
  On January 31, 2023, the OCE
                                requested video footage from room 253 on October 20, 2023,
  between 10:25 a.m.-10:30a.m. from Terence Calloway, Chief of Police. Chief
                                                                                 Calloway
  reported that video footage was unavailable.
  Respondent Subsequent Memoranda
  Professor Smith also provided subsequent memoranda on the
                                                            following dates:
  Memo #2 was received on February 9, 2023
  Memo #3 was received on February 16, 2023.
  Memo #4 was received on February 26, 2023.

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   Memo #5 was received on
                           February 27, 2023
   Memo #6 was received on March 23, 2023

   Email from Ms. Smith to Ms. Wanamaker

   On January 24, 2023, the
                            Complainant stated that                        in December 2022, Professor Smith
   emailed her the following, in pertinent
                                                     part:
   From: Smithjennifer<jenn ifer.smithOfamu.edu>
   Sent:
        Sunday,December18,20227:16PM
   To:
      Wanamaker,Michelle<michelleLwanamaker@famu.edu>
   Subject: FAMU COL
   Hi. I am the professor who
                           you met accidentally in the hallway several weeks ago (late
   when I was doing makeup exams in the classroom on the                               Oct)
                                                         second floor. I was a         with
                                                                                    partner
  H&K where you will work this summer. I am
                                                  proud of you and would not do anything to
  interfere with a student's career. I wish
                                            you the best, and if I can ever help you in any way,
  please reach out.
   Best,

  Prof Smith
  On February 1, 2023, Professor Smith
                                            stated that the only reason she emailed the
  Complainant   was because  Professor Broussard told her that she should, as Ms. Wanamaker
  felt badly about how she behaved. Professor Smith related that
                                                                                  Professor Broussard told her
  that the Complainant felt bad about how she acted and
                                                                           was nervous   because she (Professor
  Smith) was a former partner at Holland & Knight.

  Discussion
  Allegation 1: Professor Smith engaged in disruptive conduct by her behavior
  interaction with Complainant, in violation of                                            during an
                                                   University Regulations 10.111 and 1.019.
  University Regulation 10.111 establishes guidelines for employee
                                                                      relationships to set behavioral
  expectations for the University. Individuals engaged in
                                                          disruptive conduct under the policy:

         [Disruptive Conduct is defined as]    ...




         (1) Faculty, Administrative and
                                              Professional, and USPS employees who
             intentionally act to impair, inteifere with, or obstruct the orderly conduct,
             processes, and functions of the University shall be subject to
                                                                              appropriate
             disciplinary action by the University authorities       ...




            c.
                  Inte?ference with the freedom of movement of any employee or guest
            the University;                                                                     of
            d. Deliberate
                            impediment to or interference with the rights of others to enter,
                 use, or leave any
                                     University,
                                              facility, service, or scheduled activity, or in
                 carrying out their normal functions or duties ...




                                                                                                     9113 age
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   The regulation provides a non-exhaustive list of
                                                   examples of prohibited behavior. This expectation
   is reinforced by the University Code of Conduct
                                                       (University Regulation 1.019), which sets
   standards for adherence to policy and regulation.


   According to witness statements, Ms. Wanamaker and Professor Smith had a negative interaction
   when Ms. Wanamaker entered a classroom early for her
                                                           regularly scheduled class, interrupting
   Ms. Smith's administration of an exam. Professor Smith
                                                          booked that same class for          oral
                                                                                         make-up
   exams   that ended immediately before Ms. Wanamaker's class
                                                                   began. Ms. Wanamaker argued that
  her class was          soon and her           wanted
                starting              professor         the class seated and ready for class. Professor
  Smith told Ms. Wanamaker to leave. The interaction
                                                        picked up again when Professor Smith exited
  the classroom and Ms. Wanamaker was
                                                 standing near the classroom door. During their
  conversation, Professor   Smith stated that Ms. Wanamaker "would not go far." Ms. Wanamaker
  asked Professor Smith to repeat herself and Professor Smith
                                                                 loudly repeated that Ms. Wanamaker
  would not go far. Ms. Wanamaker then loudly responded that Professor Smith was
                                                                                         inappropriate
  and
        unprofessional.


  Based on the information available, Professor Smith's behavior did not
                                                                         interfere             with Ms.
  Wanamaker's freedom of movement, her scheduled class, or obstruct
                                                                     university processes.
  Witness statements indicate that Ms. Wanamaker and Professor Smith were close
                                                                                during the
  confrontation, but Ms. Wanamaker had a path to walk away from the interaction, either
  further into the hallway or into the classroom. Witness statements indicate that
                                                                                       Ms.
  Wanamaker actually walked back into her scheduled classroom and turned back around to
  say, "excuse mer to Professor Smith, who repeated herself. Ms. Wanamaker's class also
  continued as scheduled.


  While a witness stated that Professor Smith's behavior was
                                                                       startling and made them
  uncomfortable, the behavior did not rise to the level of restricting Ms. Wanamaker's freedom
  of movement or disrupting University processes. OCE is concerned about the
                                                                                        tone of
  described interaction between a professor and student;
                                                                     however, the allegation is
  UNSUBSTANTIATED.



  Allegation 2: Professor Smith retaliated against Complainant after discovering that
  Complainant filed a complaint.
  University Regulation 1.019(21) regarding retaliation states,
        "Members of the University community are prohibited from
                                                                            engaging in
        retaliation against another for reporting compliance or ethics-related
        concerns   or participating in an investigation due to such
                                                                    reports. Findings of
        retaliation are independent of the underlying claim of violation and will result
        in disciplinary action, up to and including termination. Retaliation
                                                                             against any
                                                                                          10   Rage
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             individual for their actual or perceived involvement in an
                                                                        investigation is
             prohibited by the University."

   Retaliation is established when an individual takes adverse action
                                                                         against another
   because of their participation in an investigation or opposing
                                                                  perceived violations of
   University policy or law. Such adverse action is actionable when it could reasonably
   deter an individual from engaging in such
                                               activity.
   Ms. Wanamaker reported that Professor Smith's December 1.8th email was sent to
                                                                                  intimidate
   her. According to witness and Respondent statements, Professor Smith's email
                                                                                       to Ms.
   Wanamaker was sent at the behest of a colleague, who thought it would be          to make
                                                                                helpful
   Ms. Wanamaker feel better. The motivation for Professor Smith's email indicates
                                                                                                that the
   email was not sent with adverse intent.
   The allegation is UNSUBSTANTIATED.



  Additional Finding
  OCE became concerned with how Professor Smith
                                                        responded after she was made aware that
  Ms. Wanamaker filed a complaint
                                  against her.
  In response to the complaint, Professor Smith indicated that she filed a
                                                                           complaint with
  Reginald Green, Associate Dean for Student Services and Administration, on October 20,
  2022:


             Thursdny, Octobc.r 20, 2022


                                                    <     New conversation
        Hey...I had a
        hurricane make
                                                        Reginaki Green Assoc Dean     •
        up class in
        253 until 10:30.                           Recipient
        and one of
                                           '
        reyesstudents
       (Hispanic blonde)                                      Aggressive rude
       was so rude                                                               1   0:3        AM
       because we were
        •I      I'       •        Sall




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       The College of Law
                            Faculty Handbook states the following regarding faculty complaints
       against students:
              C. STUDENT MISCONDUCT


              The Student Code of Academic Conduct is outlined in the
                                                                       Student Handbook FaculOr
              allegations ofstudent misconduct not covered by the Student Code of Conduct should
              be referred to the Associate Dean for Student Services and
                                                                         Administration.
      In a subsequent statement, Associate Dean Green
                                                           maintained that he did not consider
      Professor Smith's text message as a
                                          complaint, reporting that:
      On October 20, 2022, around 10:30 am, Professor
                                                        Jennifer Smith contacted me by text:
   "Hey...I had hurricane make up class in 254 until 10:30 and one of
   was so rude because we were in the classroom.
                                                                      reyesstudents (Hispanic blonde)

   immediately went to room 254 to investigate. Upon arriving at room 254, Professor Maritza
   1


  had begun her class (which it                                                                     Reyes
                                   appears followed Professor Smith's class) and Professor Smith had
  ended her class and left. Since Professor Smith's email did
                                                               not communicate the name of the
   sent her an email later that                                                                  student,
  1
                                 day telling her I would "try and identify the student tomorrove. I also
  encouraged her to send me her details about the "interaction" in
  Student Handbook.                                                  writing which is consistent with the

  Had I received an email with details
                                         regarding any alleged misconduct, I would have forward[sic]
  that information to the Director of Student Affairs to
                                                         complete a report.
  It is my belief that the text
                                message above was not intended to be a formal              nor did it
  constitute a formal complaint as required by the Student Handbook. I think complaint
                                                                                 Professor Smith will
  agree with that contention, as she has served as the chair of the Student
                                                                            Disciplinary Committee in
  past academic years.

  It is unreasonable that Professor Smith considered her text
                                                               message to Associate Dean Green
  as a formal complaint of a student conduct violation.
                                                           Professor Smith did not respond to
  Associate Dean Green's request for further information.
                                                             Further, Professor Smith indicated
  in the same statement that she felt the issue was resolved after her
                                                                       December 18, 2022 email,
  noting that:
            "MW did not
                          respond [to my email]. I believed the issue was over until I
            received the emails from Ms. Baker on
                                                   January 26, 2023 and January 2Z
            2023, with a bit more detail"

 As Professor Smith notes in Memorandum 1,
                                              during her interview with the OCE investigator
 on February 1, she emailed Associate Dean Green to ask "what
                                                                 happened to my complaint,"
 referencing the email that she sent to him. Professor Smith included her email to Associate
 Dean Green, in which she asked:




                                                                                               121Page
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                                                                                    FAMU 2022-1 1-1 17

               "Hey...you never did anything about this complaint and now IM being
              investigated when the student should be, and Reyes is all over this. What
              came of this?"

   Professor Smith continued to send OCE supplemental memoranda restating her
                                                                                position and
   other concerns regarding the investigation and colleagues. Professor Smith submitted five
   supplemental memoranda to support her initial testimony.
   On March 9, 2023, Professor Smith filed a
                                                complaint through the University's Compliance
   and Ethics Hotline, reporting that a student            and                       her class
                                              knowingly      intentionally disrupted
   on  October 20, 2022. OCE advised Professor Smith on several occasions that the
   investigation would include her testimony regarding her account of the incident.
   On March 10, 2023, OCE sent an email to Professor Smith
                                                           reiterating that the issue would be
   addressed in the ongoing case FAMU 2022-11-117.

   Professor Smith responded that
          "

               ...there is a difference in being the one who brings a charge and is the
                                                                                        subject
              of a charge. So, these are not the same. The student needs to understand she
              was also the subject ofan investigation, and I am not sure she will."

  On March 13, 2023, OCE sent a Notice
                                             regarding Non-Retaliation to Deidré Keller, Dean of
  the College of Law, to reinforce the University prohibition on retaliation with Professor
  Smith. In the notice, OCE stated that "...Filing a
                                                     complaint for the purpose of making a student
  "understand she is also the subject of an investigation" is inappropriate."
  The notice also reiterated the requirement that
                                              reports be made in good faith. The law deans
  met with Professor Smith. In
                            response, Professor Smith submitted Memorandum #6 dated
  March 23, 2023. In this memorandum, Professor Smith goes on to
                                                                       clarify why it was
  important that Ms. Wanamaker know that she was a subject in a complaint:
          "...It is necessary for the student to properly file her Bar
                                                                          application;
         otherwise, she will be accused of not being truthful about her law school
         experiences. I knew an investigation was being reviewed, but Ms. Baker
         informed me that I (not MW) was the subject of the
                                                            investigation."
  Professor Smith's subsequent complaint on March 9, 2023, although she knew that an
  investigation was being reviewed, memorandum responses, and the timeline of events are
  concerning. Professor Smith did not follow up on her text message to Associate Dean Green
  about Ms. Wanamaker being "aggressive rude" or his request for additional
                                                                               information in
  October 2022, which contradicts her subsequent assertions that she filed a
                                                                               complaint and
  was under the impression that it was being handled. Professor Smith also stated that she
                                                                                           felt
  the issue was resolved in December 2022.

  Despite this, Professor Smith filed an additional complaint against Ms. Wanamaker with the
  Office of Compliance and Ethics after discovering that Ms. Wanamaker
                                                                               filed a complaint
  against her. Based on Professor   Smith's statements, she filed this complaint for the purpose

                                                                                          131Page
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                                                                                FAMU 2022-1 1-1 17
   of ensuring that Ms. Wanamaker would report that she was the
                                                                    subject of an investigation
   on her bar application. Professor Smith's clarifying statement that she filed the
                                                                                     complaint
   would prevent Ms. Wanamaker from being "accused of not being truthful about her law
   school experiences."

   Based on the information available, the allegation is SUBSTANTIATED.



   Summary Conclusion
   The allegation that Professor Smith violated
                                                  University Regulation 10.111 and 1.019 related
   to disruptive conduct is UNSUBSTANTIATED,


   The Complainant's allegation that Professor Smith violated the
                                                                      University Code of Conduct
   related to retaliation by sending the December 18, 2022 email is
                                                                      UNSUBSTANTIATED.

  The additional finding of retaliation due to Professor Smith's
                                                              subsequent action in filing an
  additional complaint against Ms. Wanamaker for the purpose of having Ms. Wanamaker
  report the complaint on her bar application, is SUBSTANTIATED.


  Additional Information and Recommendations
  During the course of the investigation, OCE became aware of additional concerns which
  OCE will address directly with management. Additionally, the OCE recommends that
  Interim Provost and Vice President of Academic Affairs, Allyson Watson and
                                                                                  College of Law
  Dean Deidré Keller:
      •   Review this report and take any corrective actions deemed appropriate.
      •   Consider if additional training is appropriate regarding civil discourse, conflict
          resolution, and professionalism in the practice of law for faculty and students.
      •   Consider if additional processes need to be implemented to address internal
          complaints to the law school and the transfer of complaints to investigative
          University offices.




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      Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 37 of 75 PageID 86




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     FAMU AND
          OFFICE OF COMPLIANCE
               ETHICS



         Supplemental Report
         FAMU 2022-11-117




••




            Prepared by


            LaTonya Baker

            Approved by:

           Rica Calhoun
                                     1111


                                                                     /         ///
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 38 of 75 PageID 87




                                    'ail Ci 'Of CoMPLIANCE
                                    AND ETHICS

                                         July 6, 2023

    Larry Robinson, Ph.D., President
    Florida Agricultural and Mechanical
                                           University
    400 Lee Hall
    Tallahassee, Florida 32307


    Dear President Robinson:

   Attached is FAMU-2022-11-117
                                    Supplemental Report, addressing additional concerns as a
   result of the investigation of
                                  employee misconduct             Ms. Jennifer Smith. If
   need further information, please contact our office. regarding                        you


   Best,

   /e....a.- cedietat.

   Rica Calhoun


   Copy to:
   Dr. Maurice Edington, Executive Vice President & Chief
                                                             Operating Officer
   Dr. Denise Wallace, Vice President and General Counsel
   Deidré Keller, Dean, College of Law
   Dr. Allyson Watson, Provost and Vice President of
                                                        Academic Affairs
   Joseph Maleszewski, Vice President of Audit
   Dr. Latrecha Scott, Director, Office of
                                         Equal Opportunity Programs
   Ella Kiselyuk, Associate Vice President, Human Resources
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                                                               FAMU 2022-1 1-1 17 Supplemental Report



                                  SUPPLEMENTAL REPORT

   Background
   On June 5, 2023, The Office of
                                   Compliance and Ethics (OCE) released FAMU-2022-11-117
   Investigative Report, addressing allegations of employee misconduct
                                                                           regarding Professor
   Jennifer Smith. The (OCE) concluded that allegation 1 related to
                                                                      disruptive conduct is
   UNSUBSTANTIATED and allegation 2 related to retaliation is
                                                                   UNSUBSTANTIATED. An
   additional finding of retaliation related to Professor Smith's
                                                                  subsequent actions is
   SUBSTANTIATED. However, the OCE had additional concerns related to
                                                                              documentation
   reviewed during the course of the
                                        investigation.

  Document Review
  On      February 9, 2023, Professor Smith emailed "MEMO 2" with the
                                                                                following
  message:

  Hi again.
  I think these are the last of
                                  emails/texts on matter.
   Thx,
  JS



                               CONFIDENTIAL; WORK PRODUCT

          MEMORANDUM
          To:   Latonya Baker, FAMU Office of Compliance a d Ethics
          From: Jennifer Smith, Professor of Law
          Re:   October 2022 Incident, Second Memo on the Matter
          Date: February 9, 2023

       Enclosed are some emails/texts that I had
                                                 regarding the incident between Prof. Broussard
       and me (mine are in green) and Elliot Preston Jackson
       dated October 20, 21 and Nov. i (went to see            (datenift)     and me. They are
                                                    Associate Dean Green on the matter, but he
       was on vacation).

       I remain concerned about the lack of information I
                                                                have about what other alleged
       witnesses are saying, especially because some may not even have
                                                                             been there, but are
       Claiming to be a witness. In addition, eyewitness testimony is already unreliable and now
       it is over too days later to try and remember the incident that is
                                                                             completely unfair to
                                                                  —




       me. I am glad that I have some documentation en the matter.

       Thank you.
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                                                            FAMU 2022-11-117 Supplemental Report




   Discussion
   The University outlines its values of accountability, inclusion, innovation, and
                                                                                    integrity.
   This sentiment is echoed in regulation as well as collective
                                                                 bargaining agreements. For
   example, the UFF Collective Bargaining Agreement indicates that,
          "in addition to their assigned duties, faculty members have
                                                                         responsibilities
          arising from the nature of the educational process. Such responsibilities
          include, but are not limited to... respecting the confidential nature of the
          relationship between professor and student; adhering to ones proper role as
          teacher, researcher, intellectual mentor, and counselor; and conducting
          oneself in a collegial manner in all interactions."

  In Professor Smith's message to Assistant Dean Reginald Green, she identified Michelle
  Wanamaker as "one of Reyee students (Hispanic blonde)." The text messages between
  Professors Smith and Broussard and former student Professor Smith identified as Elliot
  Preston Jackson (c/o 2021) were concerning based on the nature of their discussion
  regarding current students. "Preston," as identified by Professor Smith, sent her a picture of
  Michelle Wanamaker and told her that "Michelle Wanamaker is the student who walked
                                                                                             up
  on you." Preston then stated that Daniel Jefferson, a current 3L student,
                                                                            reported to him
  that

         "another student in [Professor Smith's] class saw everything and is
         supporting a complaint against you to Admin. That report is being fueled
         unofficially by Reyes."
  The text message exchange continued with a discussion about information that Preston
  said came from current and former students. Professor is noted asking Preston if the
  student is "brown." Professor Smith then shared the picture of Michelle Wanamaker with
  Professor Broussard, discussing the situation with the student. Professor Smith also
  provided a "note to self," that stated:
         "...also heard Michelle being really nice to my blk women    students and asking
         irrelevant questions...that's a big book you have...to try to start convo. I said
         did she speak before...they said sometimes here n there..."

  While the text messages did not rise to the level of a policy violation, the OCE is concerned
  with the appropriateness and professionalism displayed by Professor Smith and others in
  the messages that she provided. The apparent undercurrent of race and the
                                                                                  perceived
  rivalry between ProfessorsReyes and Smith, internalized by students, is a distraction and
  out of step with the values reiterated in University commitments and
                                                                            regulations.
  The expectation of privacy refers to an individual's reasonable belief that their
                                                                                 personal
  information, activities, communications, and spaces will remain private and free from
  unwarranted intrusion or surveillance. While this incident did not violate
                                                                               Family
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                                                             FAMU 2022-11-117 Supplemental
                                                                                              Report
   Educational Rights and Privacy Act
                                      (FERPA), sharing a student's photograph for the non-
   educational purpose of gossip is wholly
                                           inappropriate. Additional general observations
   follow:

   Confidentiality and Privacy:
       >   Professors should respect the privacy and
                                                      confidentiality of their current and
           former students. Personal information, academic records, or
                                                                          any other sensitive
           details should not be disclosed without the
                                                       explicit consent of the individuals
           involved.

   Professional Boundaries:
      > University faculty are bound
                                        by academic standards of professionalism and
        decorum, which encompasses a strong commitment to ethical conduct and
                                                                                         integrity.
        College of Law faculty, as attorneys, are additionally bound by                  codes of
        conduct and ethical rules, which guide their behavior and ensureprofessional
                                                                              they act in the best
        interests of their clients while respecting legal and moral
                                                                     principles. Upholding
        ethical standards, fosters fairness and
                                                 justice, and maintains the integrity of the
        profession.

      > Faculty should be mindful of
                                     maintaining professional boundaries when discussing
        students with former students. They should avoid
                                                           sharing personal opinions,
        making derogatory remarks, or engaging in gossip. The focus should be on
        constructive and objective discussions related to educational
                                                                      experiences or
        academic achievements.

      > Faculty should ensure that discussions about
                                                     students with former students serve        a
        legitimate educational purpose. This may include seeking insights,
                                                                           feedback, or
        recommendations related to educational development or career
                                                                        opportunities.
        Discussions should be conducted in a professional and
                                                              respectful manner.


  Recommendation
  Deidré ICeller, Dean of the College of Law, should review this
                                                                 supplemental report and take
  any action deemed appropriate, taking into consideration the recommendations outlined
                                                                                            in
  FAMU 2022-11-117 Investigative
                                      Report.
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 Appendix A: Documentation
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                                   CONFIDENTIAL; WORK PRODUCT

            MEMORANDUM
            To:   Latonya Baker, FAMU Office of Compliance a  Ethics
            From: Jennifer Smith, Professor of I.stw
            Re:   October 2022 Incident, Second Memo on the Matter
            Date: February 9, 2023

            Enclosed are some emails/texts that I had regarding the incident between Prof. Broussard
            and me (mine are in green) and Elliot Preston Jackson
                                                                    (704.8914223) and me. They are
            dated October 20, 21 and Nov. 1 (went to see Associate Dean Green on the
                                                                                              but he
                                                                                        matter,
            was on vacation).


            I remain concerned about the lack of information I have about what
                                                                                         other alleged
            witnesses are saying, especially because some may not even have been
                                                                                        there, but are
            claiming to be a witness. In addition, eyewitness testimony is already unreliable and now
            it is over 100 days later to try and remember the incident that is
                                                                                  completely unfair to
                                                                       —




            me. I am glad that I have some documentation on the matter.


            Thank you.
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                     Thursday, October 20 2022



                 Hey...1 had a
                 hurricane make up
                 class in 253 until
                 10:30 and one of
                 reyesstudents
                 (Hispanic blonde)
                 was so rude
                 because we were
                 in the classroom.
                 Aggressive
                 rude...like fight
                 rudewi reported
                 it.JS
                                                       10 41 R.
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 45 of 75 PageID 94

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Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 46 of 75 PageID 95



           Mic el e
           Wanamaker is the
           student
           Who walked up on
           you
             0 26 PM



           Repeated by:
           Daniel Jefferson
           Daniel reports that
           another student
           in your class saw
           everything and
           is supporting a
              r‘   rvN   r-%   "                         n+
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 47 of 75 PageID 96

          4 31                                             el   0   28 °




         <       *         Preston
                     JUI              1   1%1..01%0%001f

                                  Oct 21, 2022

           Daniel reports that
           another student
           in your class saw
           everything and
           is supporting a
           complaint against
           you to Admin.
           That report is
           being fueled
           unofficially by
           Reyes              •




          10 27 PfVI
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 48 of 75 PageID 97


                                 Oct 21, 2022          10 32 PM


                 Who is Daniel
                 Jefferson
                                                       10 33 PM


           Daniel is a student
           in 31. class

           He is a friend of
           Tyran who does
           not like you. She
           never had you
           as a professor
           but they are on
           vendetta against
           vou
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 49 of 75 PageID 98


                                 Oct 21, 2022




                         Tyran...???
                 Because colorism
                 panel ???
                                                       11 24 P



           Yes
           From last year
          11 24 PM



                 Pat had her...she
                 brown?
                                                       11 28 PM



           Yes
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 50 of 75 PageID 99




      4 38                                           CI        ol




      <      •        Patricia Broussard:

       10 44 AM                Oct 2012022


              Never heard back
              from Reggie on
              the girl today in
              class
                                                          4 1 8 PM
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 51 of 75 PageID 100
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 52 of 75 PageID 101

      4 40                                                 et   't    26%




     <       •         Patricia Broussard                        •




                                                                         i


       10 49 PM
                                Oct 21,2022


              Apparently she
              trying to get folk
              to say hunted her     I


              down...facts don't
              support that
                                                          10 49 P


         Hunted her
         down?!!!
       10 50 PM
Case 6:24-cv-00457-PGB-RMN Document 1-3 Filed 03/04/24 Page 53 of 75 PageID 102

       4 42                                                  -
                                                                    26%..


                    '‘‘

       <                  Patricia Broussard

                                Oct 24, 2022
               Green snouid
               have said she
               had no right to be
               inthere.in there..
               heard her folk said
                ihave supporters
               for my side...other
               students say she's
               loud and rude
               often
                                                          3 03 PM
Case 6:24-cv-00457-PGB-RMN
        2/9/23, 11:49AM    Document 1-3Mail Filed 03/04/24 Page 54 of 75 PageID 103
                                                                        -Smith, Jennifer Outlook
                                                                                        -




               RE: AD Green

               Pissini, Theresa
                                  <theresa.pissini@farnu.edu>
              Tue 11/1/202210.27 AM

              To: Smith, Jennifer <jennifer.smith@famu.edu>
              Good morning Professor Smith,

              Not a problem. 1 did recognize you when you got close to me.


              Theresa Pissini
              Senior Administrative Assistant to the Associate Dean for Student
                                                                                      Services and Administration
              Florida Agricultural and Mechanical University
              College of Law
              201 Beggs Avenue
              Orlando, Florida 32801
              407.254.3205 Office
              407.254.3214 Fax
              theresa pissini@famu,edu


             From: Smith, Jennifer <jennifer.smith@famu.edu>
             Sent: Tuesday, November 1, 2022 10:23 AM
             To: Pissini, Theresa
                                  <theresa.pissini@famu,edu>
             Subject: AD Green

             GM.  forgot I had sunglasses and a mask on when I came
                   1
                                                                           to see AD Green. Sorry about that    -
                                                                                                                    I   was
             probably unrecognizable.




             Jen Smith
             Professor of Law
            Flmida A&M University College of Law
            201 FAMU Law Lane
            Orlando, Florida 32801
            407.254.3256 Office
            407.254.2456 Fax
            jennifer.smithOlamu,edu
            https://profiensmitiLcom/ahout-me




      https://oullookoffice.comimaind/AAMkADIxYWNZTkwLWQx0DUINGI1MSO4NWU2LWJh4ZiMTU2MjE4YQBGAAAAAAAU6Z63e3xtS8EAhg9ddpja3...   1/1
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         Just went to see green but he's off
         for the week. His secretary, teresa„
         jumped up like she was blocking
         me. took off my sunglasses...oh
                    I



         but still had a mask on...she
                1




         probably ain't know who was...also        l


         heard Michelle being really nice to
         my blk women students and asking
         irrelevant questions...that's a big
         book you have...to try to start convo.
         l said did she speak before...they
         said sometimes here n there...
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    MEMORANDUM
    To:   Rica Calhoun, FAMU Office of
                                          Compliance and Ethics
    CC:   Denise Wallace, Esq., FAMU GC
    From: Jennifer Smith, Professor of Law
    Re:   October 2022 Incident, Ninth Memo on the Matter
    Date: October 5, 2023

    A year ago, I experienced an
                                   unexpected confrontation with a law
                                                                     student,      Michelle Wanamaker, whom I
    had not previously met. She entered
                                        through the side door of a classroom I    had reserved weeks earlier,
   interrupting my ongoing oral exams to insist on preparing for her           class. After asking her to leave,
   she then positioned herself outside the main entrance             upcoming
                                                            where she knew I would exit,
   opportunity to confront me. Shocked about this stranger's                                  awaiting another
                                                               hostility towards me, I               contacted
   Associate Dean Green, who                                                            immediately
                              promptly arrived, but by then my subsequent class was in session.

   Although Dean Green had indicated there would be an
                                                            investigation, it was not until 100 days later that I
   was
        approached for an interview by L. Baker from Compliance.
   a complaint filed                                                 Surprisingly, the investigation focused on
                     by the student, one week after my own, and of which I was not informed.    The subsequent
   130-day investigation, spanning January to June, resulted in an
                                                                              incomplete   report  riddled with
   discrepancies, bias and oversight. While I was ultimately                 this could have been
   non-existent had the                                        exonerated,                          expedited or
                         University sought to retain the video evidence when the incident
   University did not think the incident worthy of investigation in October.                  happened, but the

   In January, the University launched an
                                              investigation, which had my employment on the line. For reasons
   unbeknownst to me, my initial complaint I filed on the
                                                             day of the incident was overlooked and
   deemed invalid. Thus, I re-submitted                                                               subsequently
                                           my complaint in March. Instead of addressing the issue, I was accused
   of potential retaliation in March for "re-filing the
   about this potential retaliation, but                 complainr and spoken to by Deans Keller and Cooper
                                         they seemed unaware of what to say or do. Then, after the
   was concluded in June, the                                                                         investigation
                                  report determined I had engaged in retaliation and
                to follow                                                                 re-assigned   unspecified
   punishment              by the dean or provost.
   In June 2023, I detailed these inconsistencies and
                                                        duplicative punishment for the same "retaliation" in a
  memorandum addressed to Rica Calhoun
                                                (Compliance) and Denise Wallace (GC), but copied Craig Reed
  (BOT) on the email. To date, I have not received a
  that the initial                                      response to my June 2023 memo. This confirms to me
                   investigation was retaliatory.
  On Monday (Oct. 2, 2023),
                               during the provost's visit to the law school, associates of Wanamaker
  October 2022 incident. They asserted I should have                                                  raised the
                                                           been dismissed, lamented the lack of
  and expressed that students are uncertain about the                                            any follow up,
                                                       procedure to lodge grievances against faculty.
  (Oct. 4, 2023), while attending an event hosted by my                                               Yesterday
                                                           previous firm (and where Wanamaker received a
  offer because I never mentioned the incident), it became    evident that Wanamaker has been
                                                                                                            job
  distorted and false narrative of the                                                          disseminating a
                                       event, tarnishing my reputation to my former co-workers and within
  legal community. Though I've refrained from                                                               the
                                                   defending myself     outside the
                                                                                formal investigation, I am
  obligated to report this student's defamatory conduct and slander             The
                                                                    campaign to     Florida Bar for several
  reasons, including my personal safety:

      •   When law students in Florida
                                       apply for bar admission, they undergo a character and fitness review.
          This process evaluates an
                                    applicant's honesty, trustworthiness, and fitness to practice law. These
          factors comprise and applicant's moral character.
                                                              Wanamaker has demonstrated (1)
          based on her intentional mischaracterization of the events                              dishonesty
                                                                          underlying the investigation; (2)
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       MW Incident Oct 20, 2022 (Compliance
                                                  2022-11-117, issued June 5, 2023)
       October 5, 2023



                  untrustworthiness based on those mischaracterizations and
                                                                                          contradictory evidence; (3)
                  manipulation of the complaint process by leveling a meritless
                                                                                    complaint; (4) bullying by knowingly
                  interfering in my class by creating a threatening and hostile environment for
                                                                                                     me; and (5) lack of
                  respect for process because she has initiated this
                                                                         campaign to target and attack my reputation.
                  Misconduct during law school is relevant
                                                                during this review. I do not believe that Wanamaker is
                  fit for the practice of law. She is
                                                      dishonest, unethical arid a bully.

              •   We have our own policies or codes of conduct which dictate
                                                                             the actions that faculty members must
                  take in response to student misbehavior. Some infractions
                                                                              require internal reporting, academic
                  consequences, or even reporting to outside entities.

                  Faculty members, like other professionals, have
                                                                      general ethical or professional obligations to report
                  certain types of misconduct,
                                                 especially if they believe that the misconduct suggests the student
                  might be unfit to practice law or if theres a risk to others. The
                                                                                    response may vary depending on the
                  severity of the misconduct. While minor indiscretions might be handled
                                                                                                  internally, more serious
                  violations, especially those involving dishonesty, integrity, or harm to
                                                                                                    others, might warrant
                  notification to the Florida Bar or other authorities.

          •       On the bar
                               application, students might be required to disclose certain types of misconduct or
                  disciplinary actions taken against them during their academic career.
                  infonnation can be problematic if discovered later.                     Failing to disclose such

   I am
        increasingly uneasy about a student who remains severely fixated on an incident that
   ayear ago. Wanamaker, a stranger to me, continues to                                       transpired nearly
                                                           try to have me professionally harmed, and perhaps
  personally as well. I have reservations both about the student's mental
                                                                            well-being and my own personal
   safety. Notably, the student has also begun to exhibit unusual behavior towards Professor
                                                                                                Broussard (one
  of my witnesses regarding the incident), who knew the student before the incident.
                                                                                       Prior to this incident, I
  had no knowledge of the student, but she knew me and hated me
                                                                      (though never knowing me personally),
  apparently due to misleading information from Professor Reyes (who I recommended for hire at the law
  school even though her tenure at the firm where we both worked was
                                                                         short and problematic). It's troubling
  that a student would viciously confront and then          to
                                                    attempt jeopardize the career of a faculty member based
  on dubious information. Wanamaker's
                                          actions suggest emotional and
                                                                         psychological instability.
  Through this memo, I wish to formally express my concern
                                                                      regarding Wanamaker's persistent and
  unsettling behavior towards me. I find myself perpetually on guard, unable to
  with whom I've had NO prior interactions, seems intent on                       comprehend why a student,
                                                                 targeting and harming me. The University's
  biased, unfounded, and retaliatory investigation continues to cause me
                                                                          harm.
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                         Florida Agricultural and Mechanical University
                                              Regulation




     1.019 University Code of Conduct.

    As members of the Florida A&M
                                          University (University) community, all faculty, staff,
    students, members of the Board of Trustees,
                                                         University officers and affiliates are
    responsible   for sustaining the highest ethical standards of
                                                                    professional conduct and
    integrity for this institution, and for the broader
                                                        community in which we function. We
    share responsibility for this institution and for its
                                                            enterprises. The University's Strategic
    Plan outlines the core values we hold as essential
                                                       to      responsible professional behavior,
     which include: integrity, accountability, innovation, and
                                                                 inclusion. The ethical principles
     espoused by the Florida Code of Ethics for Public Officers and
                                                                        Employees in Chapter 112,
     Part 111 of the Florida Statutes
                                          (Code of Ethics), reinforce our commitment to the
     Universitys values. Adherence by trustees, officers, faculty, staff, student
                                                                                        employees,
    contractors and others acting on behalf of the
                                                      University, to the standards set forth in this
    Code of Conduct is an
                             integral part of the University's goal of attracting quality
                                                                                          students,
    faculty, and staff, while ensuring a safe and healthy environment for all
                                                                                  members of the
    campus community. Further, the University supports and
                                                                     encourages a full and open
   discourse and the robust exchange of ideas and
                                                             perspectives. While the University
   upholds these freedoms, the University will not
                                                        permit speech, expression, or assembly
   that advocates lawlessness and/or
                                            violence, or restrains, disrupts, or interferes with
   activities of members of the University
                                                   community, whether by physical force or
   intimidation. The Code of Conduct outlines behavioral
                                                                 standards for members of the
   University community and for those acting on behalf of the
                                                                   University.




                                   1.019 University Code of Conduct
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          (1) Applicability. This Code of Conduct applies to the
                                                                        following members of the
              University community: a) faculty, staff, and students who are
                                                                                   paid for working
              for the University; b) Board of
                                                      Trustees;      c) consultants, vendors and
              contractors and other individuals using
                                                            University resources
                                                                         facilities, or
                                                                                    or

             receiving funds administered by the University; and
                                                                 d) individuals who
             perform services for the University as volunteers and who assert an
             association with the University. Any reference to members
                                                                                 of the University
             community as provided in this       regulation shall refer to the above referenced
             persons.



         (2) Compliance with Laws and University Rules and Policies. Per Section
                                                                                             1012.80,
             Florida Statutes, members of the
                                                    University community shall comply with the
             applicable standards, policies, rules, regulations and state and federal laws that
             govern and guide their work. The University promotes
                                                                                 ongoing and open
            communication at all levels of the institution. As
                                                                        such, administrators,
            supervisors and managers are responsible for
                                                                 supporting and monitoring
            compliance. Members of the University community have an
                                                                           obligation to report
            any behavior that they believe is unethical or in violation of state or
                                                                                    federal law,
            regulations, or university policies. See Section 17 of this
                                                                           Regulation for reporting
            options.


         (3) Disruptive Conduct. The University strives to maintain an environment
                                                                                            in which
            members of the University
                                         community treat each other with dignity and respect.
            University Regulation 10.111 prohibits individuals from
                                                                        acting intentionally to
            impair, interfere with, or obstruct the orderly conduct,
                                                                     processes and functions
            of the University. This includes
                                             substantially disrupting a student's,       employee's,
            or the Universitys
                                 performance, opportunities or       benefits.


        (4) Conflicts of Interest and Commitment. Faculty and staff of the
                                                                           University owe
            their primary professional
                                        allegiance to the University and its mission. The
            University has an obligation to internal and external stakeholders to use their

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                 resources responsibly and, where
                                                  required, for designated              purposes. Thus, all
                officers, faculty, principal investigators, staff, student
                                                                                    employees and others
                acting on behalf of the University hold positions of trust, and the
                                                                                                 University
                expects them to carry out their responsibilities with the
                                                                                   highest level of integrity
                and ethical behavior. Outside activities are defined as
                                                                         any employment or
                activities entered into in addition to an
                                                            individual's            at the
                                                                                      employment
                University, that utilize the knowledge, skills, abilities or expertise the individual
                uses   to carry out    their University duties. Outside activities,
                                                                                             including any
                interest, obligation, or relationship that could
                                                                         potentially be, or appear to be, in
                conflict with the interests of the
                                                     University, including those of immediate family
                members, must be disclosed to the University immediately so it can be
                                                                                                  managed
                appropriately. Conflicts of interest can often be managed to eliminate the risk of
                damage to the University, but only if they are promptly disclosed.


             Failure to disclose outside activities related to an
                                                                             actual, apparent, or possible
            conflict of interest or commitment is a violation of this
                                                                                   Regulation, as well as
            other applicable conflict of interest
                                                policies (including University Regulations
            6.002 and 10.122) and the Florida Code of Ethics.


         (5) Political Activities. Employees with intentions to seek election to and
                                                                                                   hold
             public office must notify the President or President's
                                                                         designee of such
            intentions. The President or President's
                                                     designee will determine whether the
            employee's candidacy for holding public office will interfere with the full and
            faithful discharge of the employees duties, as outlined in the
                                                                                University
            Regulation   10.123 and Section 104.31, Florida Statutes.


        (6) External Communication on Behalf of the
                                                              University. Pursuant to the University
            Communications Policy, the Office of Communications is the official
                                                                                              University
           representative to the media and is tasked with                  establishing and cultivating
           relationships with journalists, publications and broadcast
                                                                  networks/channels,
           as well as responding to media
                                          inquiries, issuing official statements and
           announcements and providing guidance and
                                                        leadership to the University
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             community about relevant media guidelines and best practices.


             All University leaders, faculty, staff, partners, vendors and contractors must
             coordinate with the Office of Communications to develop and distribute news
             and information about the University and to
                                                              participate in solicited and
             unsolicited media interviews or media events. Use of
                                                                      University logos and
             identity must be used in accordance with the University Style Guide and other

            applicable policies.


         (7) Contract Authority. The acceptance of an agreement, including sponsored
            project funding, may create a legal obligation on the part of the University to
            comply with the terms and conditions of the agreement and applicable laws
            and regulations. Therefore, only individuals who have authority delegated
                                                                                            by
            an appropriate University official are     authorized to enter into agreements on
            behalf of the University. All agreements, understandings, and contracts must
            be reviewed by the Office of General Counsel before execution.



         (8) Confidentiality and Privacy. The University community shall use confidential
            information acquired in the course         of University business only for official
            or   legal purposes, and not for personal or illegal advantage, during or after
            such affiliation. It is imperative that each
                                                   community member complies with
            all state and federal laws, agreements with third
                                                              parties, and University
            policies, regulations and procedures pertaining to the use, protection and
            disclosure of such information. Such policies apply even after the business

            relationship with the University ends.

        (9) Gifts and Entertainment. Employees must abide by expectations outlined in
            University regulation, policy, and the Florida Code of Ethics regarding the
            solicitation or acceptance of anything of value from third
                                                                          parties. Members of
           the University community are prohibited from
                                                          soliciting or accepting anything
           of value based     on   the understanding that their official position will be

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                influenced by such     a   gift. Employees identified as a financial disclosure
               reporting individual or procurement employee have additional restrictions
               from donors who are
                                       lobbyists, principals, political action committees or
               vendors doing business with the
                                                university.

      (10)    Record Keeping. Employees are
                                                     expected to demonstrate a commitment to
              transparency in the retention and management of records that have sufficient

              administrative, legal, fiscal, or historical value pursuant to
                                                                               University policy, the
              Public Records Law (Chapter 119, Florida
                                                                 Statutes), and the general records
              schedule published by the Florida Department of State's Division of
                                                                                         Library and
              Information Services (notably, schedules GS1-SL and
                                                                          GS5).


              Records are defined as "all documents,
                                                     papers, letters, maps, books, tapes,
              photographs, films, sound recordings, data processing software, or other
              material, regardless of physical form or characteristics, or means of
              transmission, made or received pursuant to law or ordinance or in
                                                                                connection
             with the transaction of official business
                                                               by an agency." Employees are
             prohibited from destroying documents in violation of law or policy, in
                                                                                    response
             to, or in anticipation of, an investigation, audit, or
                                                                    litigation.


      (11)   Proper Use and Protection of University Assets. The
                                                            University community will
             strive to preserve, protect and enhance the
                                                         University's assets by making
             prudent and effective use of University resources       and property and by
             accurately reporting its financial condition. All funds
                                                                     provided for research
             must be spent in
                               ways consistent with funding requirements and incompliance
             with guidelines on allowable costs     2 CFR Part 200
                                                     (i.e.                 Subpart E).


     (12)    Misuse of Public Position. Employees may not use or
                                                                        attempt to use their official
             position   or   any property or    resource      within their trust to obtain special
             prMlege, benefit, or exemption for themselves or others.


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       (13)         Fraud. As outlined in BOT
                                                    Policy 2020-01, fraud occurs       when an individual
                    obtains something of value through willful
                                                                        misrepresentation, including, but
                    not limited to, intentional misstatements or intentional
                                                                                     omissions of amounts
                   or disclosures in financial statements to deceive users of financial
                                                                                        statements,
                   theft of an entitys assets,
                                                bribery, or the use of one's position for personal
                   enrichment through the deliberate misuse or
                                                                    misapplication of an
                   organization's resources. Fraud generally means           an act of deception, bribery,

                   forgery, extortion, theft, misappropriation, false
                                                                              representation, conspiracy,
                   corruption, collusion, embezzlement, or             intentional concealment        or   the
                   omission of material facts. Members of the
                                                                     University community must mitigate
               the risk of fraud by fulfilling their duties
                                                                  honestly, while immediately reporting
               any observed or suspected irregularities to their immediate
                                                                                        supervisor.


               University employees, consultants, vendors, or persons doing business with
               FAMU who have knowledge of a fraud,
                                                                 misappropriation, or other impropriety
               shall immediately notify his/her
                                                        supervisor and/or the Division of Audit.


     (14)     Complaints may be made anonymously. Acts of fraud, as well as the failure to
              report incidents in good-faith or suspected incidents of fraud, is a violation of
              this Regulation. Examples of fraud include, but are not
                                                                                 limited to:
               a.        Any dishonest or fraudulent act;
               b.        Falsification of documents;
               c.
                         Misappropriation of funds, supplies, or other assets;
                        d. Impropriety in the
                                                handling or reporting of money or financial
                          transactions;
                    e.    Destruction, removal, or inappropriate use of records,
                                                                                        furniture, fixtures,
                          and equipment; or,
              f.        Any similar or related irregularity.
              The Division of Audit has the primary
                                                               responsibility for the investigation of all
              suspected fraudulent acts as defined above. The Division of Audit will issue
              reports to appropriate designated personnel detailing the findings.

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     (15)         Health and Safety. Members of the
                                                               University community are expected to
                  perform their duties in accordance with applicable health and
                                                                                               safety laws,
                  regulations, policies, and procedures. Members                are   also responsible for
                  compliance with the health, safety, and risk management
                                                                                        program and are
                  required to immediately report workplace/campus injuries, illnesses, and
                  unsafe conditions to the University
                                                            Department of Environmental Health and
                  Safety and the Office of Risk Manager.


     (16)        Sustainability. We are all responsible for the continued viability of Florida A&M
                 University and    ourlocal and regional communities. The
                                                                                  University is
                 committed to operating in an environmentally responsible manner, from the
                 procurement of services to the operation of offices and facilities, and other
                 business activities. Members of the University
                                                                       community must comply with all
                 applicable environmental laws and regulations as well as commitments to
                 sustainable   practices      andenvironmental protection outlined by the
                 University's Sustainability Institute.


    (17)        Information Technology. Pursuant to University Regulation 5.003
                                                                                             (Electronic
                Connectivity), members of the University community            play a role in safeguarding
                information systems by adhering to established
                                                                       University controls and
                applicable law and   policy. Members do not have an expectation of privacy in the
                use of University computers and
                                                  systems. Cyber security and systems training
                are required of all employees before
                                                     they are permitted access to these
                                                                                   systems.
                Members are prohibited from
                                                  using University computers or systems in
                furtherance of personal or political business.


            Information Technology Services tracks software
                                                                            vulnerabilities and applies
            patches as soon     as they become available. To that
                                                                            end, users of the University
            network shall not:
            •
                     Undermine the security or the integrity of
                                                                       computing systems or
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                               networks or attempt to
                                                         gain unauthorized access;
                •
                               Use any computer program or device to
                                                                           intercept or decode passwords or
                               similar access control information;
                •
                           Knowingly or intentionally transmit, download, or upload any material
                           that contains viruses, trojan horses,
                                                                 worms, time bombs, cancelbots,
                           phishing, or any other harmful programs;
            •
                           Transmit, download, or upload any material that contains software
                                                                                                         or
                           other material protected by federal or state
                                                                                intellectual property laws
                           unless the user owns or controls the
                                                                rights thereto or has received all
                           necessary consents; or
            •
                           Use FAMU electronic
                                                    connectivity for the exchange of pirated software.

     (18)           Reporting Suspected Violations.
                    a.    Members of the University
                                                           community are required to report violations of
                          applicable University policy, government contracts, and grant
                                                                                                requirements,
                          as    well as state and federal laws and
                                                                     regulations. Prompt reporting of
                         possible violations is required as it gives the University the
                                                                                        opportunity to
                         investigate  the  matter    and take corrective action where needed.
                         Complainants may initially report their concerns through their normal
                         management         chain   of   command, beginning with            one's   immediate
                         supervisor. If it is inappropriate to    report to the immediate supervisor, (e.g.,
                         the suspected violation is
                                                   by the manager or the complainant is
                                                                                        generally
                         uncomfortable), individuals may go to a higher level of          management within
                         the college, department, or
                                                          report directly to the Office of Compliance and
                         Ethics, Office of General Counsel, Division of Audit, the Office of
                                                                                             Human
                         Resources or the Office of Equal
                                                          Opportunity Programs.              Managerial and
                         supervisory personnel must maintain               an   open-door policy and take
                         proactive measures to assure         their staff that the institution
                                                                                                    supports a
                         culture that values ethical behavior and
                                                                        compliance.
            b.        Managers/Supervisors are responsible for reporting complaints received to
                      the Office of Compliance and Ethics, either
                                                                      directly or through the

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                        University's Compliance and Ethics Hotline. As appropriate, the Office of
                        Compliance and Ethics coordinates with the Division of Audit, the Office of
                        Human Resources, the Office of Equal
                                                                      Opportunity Programs and other
                        relevant areas, both internal and external.
                                                                          Employees are not exempt from
                        the consequences of wrongdoing by
                                                                 self-reporting, although self-reporting
                        may be considered in the determination of an         appropriate course of action.
                 c.    Compliance and Ethics Hotline. Members of the University
                                                                                           community may
                       use   the University Compliance and Ethics Hotline to
                                                                                       report complaints of
                       misconduct outlined in this Regulation. The Hotline allows
                                                                                              reporting by
                       phone or online, with an option for anonymous
                                                                   reporting.
             d.        Other Reporting Avenues. While the Office of
                                                                      Compliance and Ethics
                       coordinates the Compliance and Ethics Hotline,
                                                                      violations    also be   may
                       reported internally   to the offices listed above.
                                                                          Externally,             suspected
                       violations of state and federal laws may be
                                                                   reported to the Florida Board
                       of GovernorsOffice of Inspector General and
                                                                   Director of Compliance or the
                       State of Florida Whistleblower's Hotline.



     (19)   False Reports.
                            Submitting a report that is known to be false (made in bad
                                                                                          faith)
            is a violation of this
                                   Regulation and will result in discipline up to and
                                                                                      including
            potential termination from employment, in accordance with
                                                                                     applicable
            University regulations, policies, and collective bargaining
                                                                                    agreements.

     (20)   Investigation. Preliminary Review and Investigation.
                                                                                University offices tasked
            with investigation take every
                                                   reported concern        seriously. All concerns will be
            assessed through intake to determine the
                                                                  appropriate course       of action. If an
            investigation is warranted, such initial investigation will be
                                                                           completed within a
            reasonable timeframe. The
                                          primary investigator will provide appropriate
            updates to the parties.
            a.        Independence.    Investigators     are   responsible       for    establishing   and
                      maintaining independence so that conclusions and recommendations are
                      impartial in both fact and appearance. The investigator must consider

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                        organizational, personal, and external
                                                                 impairments that impact the
                        investigatorsability to perform work impartially.
                 b.
                       Confidentiality. Such reports may be made
                                                                      confidentially, and even
                       anonymously. Confidentiality will be maintained to the extent
                                                                                      legal and
                       practicable, informing only those personnel who have a need to know
                                                                                                     such
                       information.
                 c.    Cooperation. All members of the University
                                                                           community are required to
                       cooperate fully in any external or internal                         A copy of this
                                                                          investigation.
                       Regulation will be   provided to all employees.
                 d.    Interference. The integrity of an audit,
                                                                     investigation, or administrative
                       action is vital in ensuring a fair and
                                                                  equitable outcome for all parties
                       involved. Members of the
                                                     University community are prohibited from
                      impeding any audit or investigation. Examples of interference
                                                                                        includes,
                      but is not limited to: disclosing information
                                                                    inappropriately, making false
                      statements, failing to respond timely to
                                                                    requests for information or
                      tampering with evidence.
            e.        Referral. Decisions to prosecute or refer the
                                                                    investigation results to the
                      appropriate law enforcement and/or regulatory agencies for
                                                                                    independent
                      investigation will be made in conjunction with legal counsel and executive
                      level leadership.
            f.
                      Investigative Reports. Despite the disposition,
                                                                          investigative activity will
                      result in a written report.
                                                   Reports shall be fair, objective, and present the
                      results of investigation in a clear manner.


    (21)   Retaliation. Members of the
                                       University        community are prohibited from
           engaging  in  retaliation against another for
                                                           reporting compliance or ethics
           related concerns or participating in an
                                                       investigation due to such reports.
           Findings of retaliation are independent of the
                                                          underlying claim of violation and
           will result in disciplinary action, up to and
                                                               including termination, in
           accordance with applicable University
                                                     regulations, policies, and collective
           bargaining agreements.

                                       1.019 University Cade of Conduct
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       (22)     Enforcement. Members of the University community are
                                                                          responsible for
                annually completing mandatory compliance and ethics
                                                                    trainings, as well as
                maintaining compliance with law, regulation, policy, and making ethical
                decisions. Failure to follow the standards outlined serves      as a violation of this

                Regulation, as well as the originating regulation/policy, if
                                                                                applicable. Members
               of the University community who violate this
                                                                       Regulation will be subject to
               personnel action, up to and including termination, in accordance
                                                                                 with
               applicable University regulations, policies, and collective
                                                                           bargaining
               agreements.


      (23)    Equal Opportunity. It is the policy of Florida A&M
                                                                 University that each member
              of the University
                                   community is permitted to work or attend class in an
              environment free from any form of discrimination
                                                                 including race, religion, color,
              age, disability, sex, sexual harassment, sexual
                                                                orientation, gender identity,
              gender expression, marital status, national
                                                             origin, and veteran status as
              prohibited by State and Federal Statues. This commitment, identified in several
              regulations, including 10.103, applies to all areas affecting students,
                                                                               employees,
              applicants for admission and applicants for employment. It is also relevant
              to the University's selection of
                                               contractors, suppliers of goods and services
              and any employment conditions and
                                                       practices.

    Specific Authority: Chapter 112, Part III, Florida Statutes; Section
    BOG Regulation 1.001.                                                7(c), Art. IX, Fla. Const.,
                           History-New 10-05; Amended 2-9-2020, 11-30-2022, 08-11-23.




                                    1.019 University Code of Conduct
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                                                  Regulations of
                                            Florida A&M University




      10.120             Predetermination Procedures for Tenured and Permanent Status
                         Faculty and University Support Personnel System Employees.

      (1) Written Notice     —

                                 Prior to the dismissal, suspension, or
                                                                          disciplinary reduction in pay of
      a tenured or
                        permanent status employee, the University shall give the employee written
      notice as follows:

               (a) The employee shall be given written notice of the
                                                                        proposed action and the
               reasons  therefore. Such notice shall be sent by certified
                                                                            mail, return receipt
               requested, or delivered in person with written documentation of
                                                                               receipt obtained.
               (b) The   mailed  notice shall be considered received by the
                                                                               employee even if
               refused or ignored.

     (2) Contents of Notice             The notice shall be
                                                            signed by the President or President's
                                    —




     designee who makes the final decision regarding the
                                                                    proposed action. The notice shall
     include the following information:

             (a) The effective date of the Universitys proposed final action;
            (b) The specific charges or reasons for the action;
            (c) A list of documents or written explanation on which the
                                                                                 charges are based; and
            a statement that documents shall be available to the
                                                                          employee upon request;
            (d) A statement that the employee may, within 10
                                                                          days of receipt of the notice,
            submit a request in writing for a conference at which the
                                                                                employee may make an
            oral or written statement, or both, to the
                                                         University to refute or explain the
            charges or reasons for the action; and the name and address of the
                                                                                   person to
            whom the request for a conference shall be
                                                       directed;
            (e) A statement that the requested conference must be held
                                                                                  prior to the proposed
            effective date of the action, at a time and
                                                                 place determined by the University,
            normally during regular business hours, and that the employee may
                                                                                         bring a


               10.120            Predetermination Procedures for Tenured and Permanent Status
                                 Faculty and University Support Personnel System Employees

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              representative to advise and assist;
              (f) A statement that the University desires to reduce the risk of error
                                                                                             in taking the
              action against the employee and to avoid
                                                   damaging the employee's reputation by
              untrue or erroneous
                                  charges, and therefore, the University is interested in
              receiving and considering the employee's response; and
              (g) A copy of this rule shall be enclosed with the notice.
      (3) Conference        —
                                The conference must be conducted
                                                                    by the designated representative(s)
      of the President as follows:

              (a) The purpose of the conference shall be to hear the
                                                                             employee's response to the
             charges in order to protect the          employee from erroneous      or   arbitrary adverse
             action; to afford the University an
                                                           opportunity to reevaluate its position after
             reviewing the information presented by the employee, and to thereafter
                                                                                                 make a
             recommendation to affirm or alter the
                                               disciplinary action as may be warranted.
             (b) The conference shall be informal and shall not be
                                                                      in the nature of an
             evidentiary hearing. The employee may bring a representative to advise and
             assist, but discovery, cross-examination and similar
                                                                  legal procedures are not
             permissible.
             (c) The employee shall be permitted to submit relevant
                                                                              information, orally or in
            writing, or both, with the privilege being reserved to the
                                                                               University to give such
            information the weight it deems proper. If the
                                                                       employee chooses to make no
            response, the University will proceed on the basis of the best information it
                                                                                                    can
            obtain without such response.

            (d) After the conference is conducted, the
                                                       employee shall be notified, by the
            President or President's
                                     designee of the         decision.
                                                         University's
     (4) Decision   —

                         If the University determines after the conference that it
                                                                                   willproceed with
     the proposed
                        disciplinary action, the employee shall be notified as described in this rule
     within five workdays prior to the date the action is
                                                           effective. USPS employees shall be
    informed of their right to appeal to an arbitrator under the
                                                                 provisions of Board of Regents
    subsection 6C-5.950(4), F.A.C. If the
                                               employee occupies a position included in a
    certified bargaining unit, the employee shall be further notified that
                                                                           the grievance

             10.120               Predetermination Procedures for Tenured and Permanent Status
                                  Faculty and University Support Personnel System
                                                                                  Employees

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       procedures as provided in the applicable collective bargaining
                                                                                 agreement may be used.
       Further, the University shall follow the provisions of Part VI of
                                                                                  Chapter 112, F.S., Law
       Enforcement OfficersBill          of Rights, when Sworn Law Enforcement Personnel                are
       involved.
              (a) During the period between the first notice and the effective date of the
                                                                                                 action, one
             of the following options may be used by the
                                                                     University: retain the employee in the
             employee's usual duties; temporarily assign the employee to other duties; or
                                                                                                  place the
             employee on administrative leave with pay.
    (5) Extraordinary Situations.

            (a) In extraordinary situations, when the retention of a tenured or
                                                                                          permanent status
            employee is likely to result in damage to property, or is likely to result in injury to the
            employee, a fellow employee, or some other person, the employee may be
                                                                                                 suspended
            or dismissed immediately upon written or             oral notice to the employee of the
                                                                                                      charges
            giving rise to the suspension or dismissal.
            (b) If an oral notice of suspension or dismissal is
                                                                      given to an employee, the University
            shall within 24 hours issue a written notice
                                                                   confirming the proposed action and the
            reason(s) therefore.

            (c) In lieu of the action to suspend or dismiss the employee, the
                                                                                     University may place
            the employee on administrative leave as described in subsection
                                                                                    6C-5.920(14), F.A.C.
            (d) USPS employees shall be informed of their right to
                                                                              appeal to an arbitrator under
            the provisions of subsection 6C-5.955(4), F.A.C.

            (e) If the employee occupies a position included in a certified
                                                                                      bargaining unit, the
           employee shall be further notified that the grievance procedures as provided in the
           applicable collective bargaining agreement may be used.
           (f) Further, the University will follow provisions of Part VI of
                                                                                   Chapter 112, F.S., Law
           Enforcement Officer's Bill of Rights, when sworn               law enforcement personnel are
           involved.


   Specific Authority 1001.74, 1001.75 FS., History—New 6-27-96.




               10.120          Predetermination Procedures for Tenured and Permanent Status
                               Faculty and University Support Personnel System Employees

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                                                                          Regulations of
                                                                   Florida A &M University

                                                                                       2‘,
                                                                                    1/410.


                         Faculty:
          10.205          Disciplinary and Separation from Employment Actions for
                           -;   •;           ••,'   •

                                                                     •:   •;;
                                                                                       •

                                                                                           ';   •

                                                                                                     ••;        •.
                                                                                                            •




      (1)       The provisions of this
                                                            regulationnale are supplemented by the respective collective
      bargaining agreement for the employees who are represented by a collective
                                                                                                                                    bargaining
      agent.
                                             •:
                                     •                  '




      (2)     Faculty                    •


                                                             •::                •


                                                                                                       -:
                                                                                                                 -


                                                                                                                      shall give one month
      notice of resignation from
                                                            employment, if possible. An employee who resigns from
      employment shall not have any rights of appeal.
      (3)      Nontenured or Nonpermanent Faculty
                                                                                      and4t-&-P-empleyees whose appointments
      expire after receiving notice of nonrenewal or nonreappointment or whose
                                                                                                                               appointment
      expires without the requirement of                                    a       written notice of nonreappointment may be
      separated without further notice.

     (4)       An employee who is absent without
                                                                                     approved leave for three or more consecutive
     workdays shall be considered to have abandoned the position. For
                                                                                                                     employees governed
     by the Board of Regents Trustees and United Faculty of Florida
                                                                                                                (BOR/UFF) (BOT/UFF)
     Collective Bargaining Agreement, the relevant
                                                                                           provisions of Article 16 the Collective
     Bargaining Agreement shall apply for job abandonment.
     (5)      The President or President's
                                                                    designee may discipline a Faculty er-A-&-P-empleyee
     for just cause in accordance with the
                                                                      provisions set forth herein. Counseling of any nature
     or
          degree shall not be considered disciplinary action.
               (a) Just cause shall be defined as:
                        1. Incompetence; or

                        2. Misconduct.

               (b) The President or Presidents designee may
                                                                                                    impose progressive discipline as
               applied to employees. The term                                        "progressive discipline            as   used    in this
               regulationfale    means                      that the form of disciplinary action
                                                                                                                     imposed against the
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            employee increases in extent or severity with each action taken. The
                                                                                          discipline to
            be imposed against the
                                         employee under this paragraph may include a written
            reprimand, suspension or dismissal from employment with the
                                                                                   University. The
            discipline that is imposed will depend upon the seriousness of the      offense and any
            aggravating or   mitigating circumstances.
            (c) Written Reprimand            A written reprimand issued
                                                                        by the employee's
                                          —




            supervisor is to warn        the employee in
                                                         writing of the specific conduct or
            performance standard that was violated and to place the employee on notice of the
            next level of
                            discipline if the offense is repeated. The written reprimand shall be
            in a letter format from the
                                              supervisor to the employee. A copy of the written
           reprimand shall be placed in the employee's personnel file. The
                                                                       employee must be
           informed of the possible
                                         consequences if the offense is repeated or the
           performance fails to improve.
           (d) Suspension      —
                                   The President or President's
                                                                designee may suspend the
           appointment of the employee during the term of the employment contract for
                                                                                                 just
           cause. The President or       President's designee shall also determine whether the
           suspension shall be with or without pay, which will
                                                                      depend upon the seriousness
           of the offense and any aggravating or
                                                          mitigating circumstances. The employee
           shall be given written notice of the
                                                 suspension action by the President or
           Presidents designee specifying the
                                               reason(s) therefor. Following appropriate
           written notice, the employee
                                        may be reassigned by the President or President's
           designee depending upon the nature of the offense and
                                                                 any aggravating or
           mitigating circumstances.
           (e) Suspension Pending Hearing       —

                                                    When the President or President's
                                                                                        designee has
          reason   to believe that the
                                   employee's presence on the job would adversely affect
          the functioning of the University or
                                                jeopardize the safety or welfare of the
          employee, other employees or students, the President or President's
                                                                              designee may
          immediately suspend the employee from the performance of duties,
                                                                                 pending a
          hearing  under  the complaint
                                          procedure outlined in RegulationRule 6C3
          10.206.32, F.A.C.  The President or President's
                                                            designee shall also determine
          whether the suspension shall be with or without
                                                            pay in the manner outlined in
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            paragraph (4)(d) of this regulationnile. If the employee has been
                                                                              suspended
            without pay and subsequently is reinstated as a result of the
                                                                             complaint procedure
            under Regulation Rule 6C3 10.20632, F.A.C., the
                                                                  employee shall be reinstated
            with back pay.
            (f) Dismissal    —
                              The employee may be dismissed
                                                                   during the term of the
            employment contract for just cause, regardless of tenure status where it
                                                                                     appears
            to the President or President's
                                            designee that an employee's actions adversely
            affect the functioning of the University or
                                                       jeopardize the safety or welfare of the
           employee, other employees or students. The employee shall be
                                                                                 given written
           notice of the dismissal by the President or President's
                                                                       designee specifying the
           reason(s) therefore. The dismissal shall take effect at the time determined
                                                                                        by the
           President or President's designee and as written in the notice
                                                                            of dismissal.
           (g) The President or President's designee may impose other
                                                                       disciplinary action for
           just cause. The term "other disciplinary actioe is defined as
                                                                         discipline incidental
           or in addition to a written
                                             reprimand or suspension. Examples of other
           disciplinary action may include a demotion, reduction in pay, removal of
           administrative duties or restitution. Any other
                                                           disciplinary action imposed will
           occur   simultaneously with a written reprimand or         suspension.  The other
           disciplinary action imposed will depend upon the nature of the offense and
                                                                                          any
           aggravating or mitigating circumstances. Written notice of such
                                                                                 disciplinary
           action, specifying the reason(s) therefor, shall be
                                                               given to the employee by the
           President or President's
                                    designee.
           (h) The effective date and hour of the
                                                   disciplinary action shall be recorded in the
           written notice. Such notice shall be delivered or
                                                               forwarded to the employee by
          certified mail with a return receipt requested, or when
                                                                    practicable the notice may
          be hand-delivered to the
                                    employee provided the delivery is certified in writing by
          the deliverer. The
                              attempts prescribed above to notify the employee satisfy the
          requirement of notification, and failure of the employee to receive notification
          does not invalidate the disciplinary action nor its
                                                              effective date. It is incumbent
          upon the University, however, to see that a
                                                          continuing effort is made to effect
          notification.
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              (i) Within 30 days following the receipt of notice of
                                                                           disciplinary action, the
              employee may file     a   complaint in accordance with RegulationRule 6C3
              10.206.532, F.A.C.

      (6) Other Personal Services (OPS) employees without
                                                                permanent status in any class may
      be separated from employment at
                                         any time without requirements of notice or reason and
      without rights of appeal.




    Specific Authority: 1001.74, 1001.75 FS. Law Implemented
                                                               110.205(2)(d), 1001.74, 1001.75 FS.
    History—New 6-3-01.
